           Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 1 of 88
                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                          February 09, 2023
                            FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                     MCALLEN DIVISION

IN RE:                                                §
                                                      §   CASE NO: 10-70594
JOSE SR. TREVINO                                      §
and                                                   §   CHAPTER 13
TERESA TREVINO,                                       §
                                                      §
            Debtors.                                  §
                                                      §
TERESA TREVINO                                        §
and                                                   §
JOSE SR. TREVINO,                                     §
                                                      §
            Plaintiffs,                               §
                                                      §
VS.                                                   §   ADVERSARY NO. 13-7031
                                                      §
U.S. BANK TRUST, N.A.                                 §
and                                                   §
CALIBER HOME LOANS, INC.,                             §
                                                      §
            Defendants.                               §

                                         MEMORANDUM OPINION
           “A request for attorney’s fees should not result in a second major litigation.”1

Nevertheless, U.S. Bank Trust, N.A., as trustee for LSF8 Master Participation Trust and Caliber

Home Loans, Inc. has objected to the request of Jose Trevino and Teresa Trevino’s counsel, Kellett

& Bartholow PLLC and Stone Curtis, PLLC’s, for a combined total of $798,686 in attorneys’ fees

and $75,382.29 in expenses for a grand total of $874,068.29 stemming from extended litigation in

a case that has been pending in this Court since 2013. The Court conducted a four-day trial

commencing on September 19, 2022, and concluding on September 22, 2022. For the reasons

stated herein, this Court finds that of the $763,846.50 in attorneys’ fees and $72,229.12 in expenses



1
    Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 2 of 88




requested by Kellett & Bartholow, PLLC, only $230,448.20 in attorneys’ fees and $44,447.04 in

expenses are reasonable and necessary and thus awarded to Kellett & Bartholow PLLC. Further,

this Court finds that of the $34,839.50 in attorneys’ fees and $3,153.17 in expenses requested by

Stone Curtis, PLLC, only $6,967.91 in fees and $2,454.17 in expenses are necessary and

reasonable and thus awarded to Stone Curtis, PLLC.

                                             I.       BACKGROUND

      This Court makes the following findings of fact and conclusions of law pursuant to Federal

Rule of Civil Procedure (“Rule”) 52, which is made applicable to adversary proceedings pursuant

to Federal Rule of Bankruptcy Procedure (“Bankruptcy Rule”) 7052. To the extent that any finding

of fact constitutes a conclusion of law, it is adopted as such. To the extent that any conclusion of

law constitutes a finding of fact, it is adopted as such. This Court made certain oral findings and

conclusions on the record.             This Memorandum Opinion supplements those findings and

conclusions. If there is an inconsistency, this Memorandum Opinion controls.2

      For the purposes of this Memorandum Opinion and, to the extent not inconsistent herewith,

this Court adopts and incorporates by reference each of the Background Facts in this Court’s June

19, 2015, January 12, 2017, January 31, 2020, December 21, 2020, and September 10, 2021,

Memorandum Opinions.3

         In late 2013, Jose Trevino and Teresa Trevino (“Plaintiffs”) filed suit against HSBC

Mortgage Services, Inc. (“HSBC”), U.S. Bank Trust, N.A., as trustee for LSF8 Master

Participation Trust (“USBT”) and Caliber Home Loans, Inc. (“Caliber”).4 In 2016, Plaintiffs



2
  Citations to the docket in this adversary proceeding styled Trevino v. U.S. Bank Trust, N.A. et al. 13-7031, shall
take the form “ECF No. –––,” while citations to the bankruptcy case, 10-70594, shall take the form “Bankr. ECF
No. –––.”
3
  ECF Nos. 96, 184, 341, 419, and 445.
4
  ECF No. 1.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 3 of 88




settled with HSBC5 and HSBC was dismissed from the case,6 but litigation against USBT and

Caliber (“Defendants”) continued. Finally, on August 7, 2019, a trial commenced7 and ultimately

concluded on October 1, 2019.8

        On January 31, 2020, the Court issued a memorandum opinion (“Trial Opinion”)9 and

judgment (“Trial Judgment”), denying Plaintiffs relief on numerous causes of action and denying

Plaintiffs’ claims for actual damages.10 The Court concluded, however, that Defendants violated

the Fair Debt Collection Practices Act (“FDCPA”) and committed an abuse of process by not

withdrawing the 3002.1 Notice during the period of time when Defendants owned Plaintiffs’ Loan.

As a result, the Court found Defendants liable to Plaintiffs for $1,000 in statutory damages under

the FDCPA and $9,000 in punitive damages.11 The Court further deemed Defendants liable for

Plaintiffs’ reasonable and necessary attorneys’ fees and expenses pursuant to 11 U.S.C. § 105(a)

and 15 U.S.C. § 1692k(a)(3), in an amount to be determined following further proceedings.12

        The litigation didn’t end there, however. On May 15, 2020, Kellett & Bartholow PLLC

(“KB Firm”) and Stone Curtis, PLLC (“Stone Curtis” and together with KB Firm, “Applicants”)

filed their “Application of Plaintiffs’ Counsel for Allowance of Compensation and Reimbursement

of Expenses” (“Fee Application”), seeking, collectively, $676,576.50 in attorneys’ fees and

$67,121.59 in expenses, for a grand total of $743,698.09.13 On August 14, 2020, Defendants

objected to the Fee Application (“Fee Objection”) in its entirety.14 On March 19, 2021, Defendants



5
  ECF No. 137.
6
  ECF No. 144.
7
  Aug. 7, 2019 Min. Entry.
8
  Oct. 1, 2019 Min. Entry.
9
  ECF No. 341.
10
   ECF No. 342.
11
   Id.
12
   Id.
13
   ECF No. 374.
14
   ECF No. 390.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 4 of 88




filed their, “Motion for Summary Judgment as to Application of Plaintiffs’ Counsel for Allowance

of Compensation and Reimbursement of Expenses” (“Motion for Summary Judgment”).15

Plaintiffs filed a response on April 16, 2021 (“MSJ Response”).16 Defendants filed their reply on

April 23, 2021.17 Plaintiffs filed a sur-reply on April 30, 2021 (“Sur-Reply”).18 Plaintiffs’ Sur-

Reply sought entry of summary judgment in their favor on limited matters.19

          On September 10, 2021, this Court issued its Memorandum Opinion and Judgment

resolving the Motion for Summary Judgment and notified Plaintiffs and Defendants that it intended

to grant summary judgment in part, in favor of Plaintiffs pursuant to Plaintiffs’ Sur-Reply.20 On

October 21, 2021, this Court entered a Judgment resolving Plaintiffs’ Sur-Reply.21 In the interim,

on September 24, 2021, Plaintiffs filed their “Plaintiffs’ Limited Motion to Reconsider Opinion

and Judgment at Docket Nos. 445 and 446” (“Limited Motion to Reconsider”).22 After reviewing

the Limited Motion to Reconsider, this Court entered an Amended Judgment on October 22,

2021.23

          On January 10, 2022, Plaintiffs filed their “Supplemental Application of Plaintiffs’

Counsel for Allowance of Compensation and Reimbursement of Expenses,” (“Supplemental Fee

Application”), seeking reimbursement of $122,109.50 in attorneys’ fees and $8,260.70 in expenses

accumulated defending the Fee Application against Defendants’ Objection. 24 On February 7,

2022, Defendants filed “The Caliber Parties’ Objection to the Supplemental Application of



15
   ECF No. 428.
16
   ECF No. 430.
17
   ECF No. 431.
18
   ECF No. 434.
19
   Id.
20
   ECF Nos. 445, 446.
21
   ECF No. 451.
22
   ECF No. 449.
23
   ECF No. 454.
24
   ECF No. 466.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 5 of 88




Plaintiffs’ Counsel for Allowance of Compensation and Reimbursement of Expenses”

(“Supplemental Fee Objection”).25 In total, KB Firm seeks $641,737.00 in fees and $63,968.42 in

expenses from the Fee Application and $122,109.50 in fees and $8,260.70 in expenses from the

Supplemental Fee Application for a total award sought of $836,075.62. Stone Curtis seeks

$34,839.50 in fees and $3,153.17 in expenses from the Fee Application for a total award sought

of $38,037.67. Together, Applicants seek a total award of $874,068.29 in fees and expenses.

        On September 19, 2022, this Court conducted a four day trial on the Fee Application and

the Supplemental Fee Application concluding on September 22, 2022. After the trial concluded,

the Court ordered Applicants and Defendants to submit post-trial briefing, to be filed no later than

December 6, 2022, on why various requested fees should or should not be awarded in light of the

evidence presented at trial.26 On December 5, 2022 the Court granted “Defendant’s Unopposed

Motion for an Extension of Time to File Post-Trial Briefs” extending the deadline to file the post-

trial briefs to December 13, 2022.27 On December 13, 2022 Applicants timely filed their

“Plaintiffs’ Post-Trial Brief in Support of Their Counsel’s Application and Supplemental

Application for Allowance of Compensation and Reimbursement of Expenses”28 (“Applicant’s

Post-Trial Brief”) and Defendants timely filed their “The Caliber Parties’ Post-Trial Brief”29

(“Defendant’s Post-Trial Brief”). The matter is now concluded and ripe for determination.

                                  II.         CREDIBILITY OF WITNESSES

        It is the Court's duty to assess and weigh the credibility of witnesses.30 At the September

19-22, 2022, trial, the Court heard testimony from six witnesses: (1) Ellen Stone, (2) Caitlyn Wells,


25
   ECF No. 470.
26
   September 22, 2022, Min. Entry; ECF No. 528 at 143-44.
27
   ECF Nos. 532, 533.
28
   ECF No. 537.
29
   ECF No. 538.
30
   In re Burg, 641 B.R. 120, 128 (Bankr. S.D. Tex. 2022) (citing Port Arthur Towing Co. v. John W. Towing, Inc. (In
re Complaint of Port Arthur Towing Co.), 42 F.3d 312, 318 (5th Cir. 1995)).
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 6 of 88




(3) Karen Kellett, (4) Marcos Oliva, (5) Abelardo Limon, and (6) Catherine Curtis. After

observing the witnesses and listening to their testimony, the Court makes the following

observations regarding the credibility of the witnesses, as set forth below.

         1. Ellen Stone

         Ellen Stone served as counsel to Plaintiffs in their underlying bankruptcy. At trial, Ellen

Stone responded to questions clearly, completely, and directly.31 Thus, the Court finds that she is

a very credible witness and gives substantial weight to her testimony.

         2. Caitlyn Wells

         Caitlyn Wells is an attorney for the KB Firm and has worked on the present Adversary

Case on behalf of Plaintiffs. At trial, Caitlyn Wells responded to questions clearly, completely,

and directly.32 Thus, the Court finds that she is a very credible witness and gives substantial weight

to her testimony.

         3. Karen Kellett

         Karen Kellett is a partner at the KB Firm and has worked on the present Adversary Case

on behalf of Plaintiffs. At trial, Karen Kellett responded to questions clearly, completely, and

directly.33 Thus, the Court finds that she is a very credible witness and gives substantial weight to

her testimony.

         4. Marcos Oliva

         Marcos Oliva is consumer bankruptcy attorney in the Rio Grande Valley. At trial, Marcos

Oliva responded to questions clearly, completely, and directly.34 Thus, the Court finds that he is

a very credible witness and gives substantial weight to his testimony.


31
   See e.g., In re Burg, 641 B.R. 120, 128 (Bankr. S.D. Tex. 2022).
32
   See e.g., id.
33
   See e.g., id.
34
   See e.g., id.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 7 of 88




        5. Abelardo Limon

        Abelardo Limon is consumer bankruptcy attorney in the Rio Grande Valley. At trial,

Abelardo Limon responded to questions clearly, completely, and directly.35 Thus, the Court finds

that he is a very credible witness and gives substantial weight to his testimony.

        6. Catherine Curtis

        Catherine Curtis served as bankruptcy counsel for the Plaintiffs in the underlying

bankruptcy case.36 At trial, Catherine Curtis responded to questions clearly, completely, and

directly.37 Thus, the Court finds that she is a very credible witness and gives substantial weight to

her testimony.

               III.        JURISDICTION, VENUE, AND CONSTITUTIONAL AUTHORITY

        This Court holds jurisdiction pursuant to 28 U.S.C. § 1334 and now exercises its

jurisdiction in accordance with Southern District of Texas General Order 2012–6.38 Bankruptcy

judges wield constitutional authority to issue final orders and judgments for core proceedings but

can only issue reports and recommendations for non-core proceedings, unless the parties consent

to the entry of final orders or judgments on non-core matters.                 The instant action is a core

proceeding.      The application of Plaintiffs’ counsel for allowance of compensation and

reimbursement of expenses arises under title 11, making this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2)(A), (B), and (O).

        This Court may only hear a case in which venue is proper.39 28 U.S.C. § 1409(a) provides

that “a proceeding arising under title 11 or arising in or related to a case under title 11 may be




35
   See e.g., id.
36
   ECF No. 525 at 73, ¶¶ 23-25.
37
   See e.g., In re Burg, 641 B.R. at 128.
38
   In re: Order of Reference to Bankruptcy Judges, Gen. Order 2012–6 (S.D. Tex. May 24, 2012).
39
   28 U.S.C. § 1408.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 8 of 88




commenced in the district court in which such case is pending.” Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409 because Plaintiffs reside in Edinburg, Texas40 and the

Court presided over their chapter 13 bankruptcy proceeding.

         While bankruptcy judges can issue final orders and judgments for core proceedings, absent

consent, they can only issue reports and recommendations on non-core matters.41 Here, Plaintiffs

filed their notice of consent on August 31, 2020,42 and Defendants filed their notice of non-consent

to the entry of final orders on all non-core matters by this Court on the same date.43 However, this

Court finds that because this Memorandum Opinion and Order supplements the Court’s January

31, 2020, Judgment to the extent it determines reasonable attorneys’ fees, the matter is a core

proceeding under 28 U.S.C. § 157(b)(2), and this Court has the constitutional authority to enter a

final order.

         Regarding any non-core claims involved, this Court finds that resolution of such claims is

inextricably intertwined with resolution of the core claims.44 As such this Court can enter final

orders and judgments. However, should the Honorable United States District Court determine that

the Bankruptcy Court did not have authority to enter final orders and judgments, this Court requests




40
   Bankr. ECF No. 1.
41
   See 28 U.S.C. §§ 157(b)(1), (c)(1); see also Stern v. Marshall, 564 U.S. 462, 480 (2011); Wellness Int’l Network,
Ltd. v. Sharif, 135 S. Ct. 1932, 1938–40 (2015).
42
   ECF No. 393.
43
   ECF No. 392.
44
   E.g., In re Spillman Development Group, Ltd., 710 F.3d 299, 306 (5th Cir. 2013) (holding that creditor’s state
contract-law claims were inextricably intertwined with the interpretation of a right created by federal bankruptcy law);
Honigman, Miller, Schwartz & Cohn v. Weitzman (In re DeLorean Motor Co.), 155 B.R. 521, 525 (9th Cir. BAP
1993) (holding that an otherwise non–core state law claim was inextricably tied to the determination of an
administrative claim against the estate and similarly tied to questions concerning the proper administration of the
estate); Maitland v. Mitchell (In re Harris Pine Mills), 44 F.3d 1431, 1438 (9th Cir. 1995) (citing Honigman, Miller,
Schwartz & Cohn with approval); see also CDX Liquidating Trust v. Venrock Assoc., No. 04–7236, 2005 WL
3953895, at *2 (N.D. Ill. Aug. 10, 2005) (holding that where non–core claims were inextricably intertwined with core
claims, the non–core claims should be treated as core claims); Electric Machinery Enterprises, Inc. v. Hunt
Construction Group, Inc. (In re Electric Machinery Enterprises, Inc.), 416 B.R. 801, 866–67 (Bankr. M.D. Fla. 2009)
(adopting inextricably intertwined approach).
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 9 of 88




that the Honorable United States District Court convert this Memorandum Opinion into a Report

and Recommendation.

                                               IV.          ANALYSIS

A. Applicants’ Fee Application

         KB Firm seeks $641,737.00 in legal fees for the time period from December 3, 2013, to

March 1, 2020, plus $63,968.42 in expenses for a total award of $705,705.42.45 Stone Curtis,

seeks $34,839.50 in legal fees and $3,153.17 in expenses for a total award of $37,992.67 for the

same time period as KB Firm.46 As demonstrated by the table below, the combined total award

requested in the Fee Application is $743,698.09:47


                                      Kellett & Bartholow, PLLC

                              Hours in                                       Adjusted
                                1/10                                       Hours in 1/10
      Timekeeper             Increments          Rate              Total    Increments     Adjusted

 Theodore O.
 Bartholow, III                        26.5 $435.00          $11,527.50             22.7     $9,874.50
 Theodore O.
 Bartholow, III
 (Travel Rate)                           10 $217.50            $2,175.00              10     $2,175.00
 Theodore O.
 Bartholow, III
 (12/03/2013 –
 12/31/2017)                           94.1 $400.00          $37,640.00             63.4    $25,360.00
 Theodore O.
 Bartholow, III
 (12/03/2013 –
 12/31/2017
 Travel Rate)                          31.5 $200.00           $6,300.00             31.5     $6,300.00
            Subtotal                                         $57,642.50                     $43,709.50

 Karen L. Kellett                    907.3 $500.00 $453,650.00                     769.2 $384,600.0048

45
   ECF No. 374 at 1.
46
   Id. at 2.
47
   See generally ECF No. 374-1.
48
   ECF No. 374 at 8 incorrectly reflects a total of $388,200.00.
     Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 10 of 88




Karen L. Kellett
(Travel Rate)           87.5 $250.00    $21,875.00        87.5    $21,875.00
           Subtotal                    $475,525.00               $406,475.00

Caitlyn N. Wells       749.3 $300.00 $224,790.00         555.3   $166,590.00
Caitlyn N. Wells
(12/03/2013 –
5/31/2015)              85.5 $250.00    $21,375.00        53.4    $13,350.00
Caitlyn N. Wells
(Travel Rate)             10 $150.00     $1,500.00          10     $1,500.00
           Subtotal                    $247,665.00               $181,440.00

Megan F. Clontz        155.8 $250.00    $38,950.00        30.9     $7,725.00
Megan F. Clontz
(12/03/2013 –
5/31/2015)               1.1 $200.00      $220.00            0         $0.00
Megan F. Clontz
(Travel Rate)            9.4 $125.00     $1,175.00         9.1     $1,137.50
           Subtotal                     $40,345.00                 $8,862.50

Claude D. Smith         29.2 $350.00    $10,220.00           0         $0.00
O. Max Gardner, III      0.5 $475.00       $237.50           0         $0.00
Brenda Morott
(paralegal)             34.2 $150.00     $5,130.00         4.6      $690.00
Carter S. Plotkin
(paralegal)              7.9 $100.00      $790.00            0         $0.00
Bakhtawar Khan
(paralegal)             11.7 $100.00     $1,170.00           0         $0.00
Tye McWhorter           13.4 $100.00     $1,340.00           0         $0.00
Myra Ali
(paralegal)             16.0 $100.00     $1,600.00           0         $0.00
Todd Cohen
(paralegal)             17.7 $100.00     $1,770.00           0         $0.00
Randi Daun
(paralegal)            100.6 $100.00    $10,060.00         5.6      $560.00
Megan Parry
(paralegal)             90.6 $100.00     $9,060.00           0         $0.00
Sam Weeks
(paralegal)             32.0 $100.00     $3,200.00           0         $0.00
       Subtotal Fees                    $44,577.50                 $1,250.00

         Total Fees                    $865,755.00               $641,737.00

     Case Expenses                                                $63,968.42
             Total                                               $705,705.42
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 11 of 88




                                          Stone Curtis, PLLC

              Timekeeper                           Hours               Rate                   Total

 Catherine Curtis                                           3.7            $225                        $832.50
 Catherine Curtis                                          1.75            $350                       $612.50
                                Subtotal                                                            $1,445.00

 Ellen Stone                                                0.1            $375                        $37.50
 Ellen Stone                                             82.52             $350                    $28,882.00
 Ellen Stone                                             0.2549            $300                        $75.00
 Ellen Stone
 (Travel Rate)                                           13.75             $175                     $2,406.25
                                Subtotal                                                           $31,445.75

 Raul Frias                                                 4.0             $95                        $380.00
 Raul Frias                                                0.75            $100                         $75.00
                                Subtotal                                                               $455.00

 Julisa Resendez                                           3.75            $100                           $375
                                Subtotal                                                               $375.00

 Mary Olivarez                                           12.25              $95                     $1,163.75
                          Subtotal Fees                                                             $1,163.75

                              Total Fees                                                           $34,839.50

                         Case Expenses                                                              $3,153.17
                                 Total                                                             $38,037.67

                           Grand Total                                                           $743,698.09


        Determining the proper amount of attorney’s fees to award is guided by two sub-inquiries:

whether the attorney was properly employed and if so, whether the fees charged are reasonable

and necessary.50 The Court takes these sub-inquiries in turn.




49
   ECF No. 374 at 9 reflects .4 hours billed at $300/hour for a total of $75.00. The May 7, 2017 time entry at ECF
No. 374-4 at 9, however, reflects that only .25 hours was billed at $300/hour for a total of $75.00.
50
   Lopez v. Portfolio Recovery Assocs., LLC (In re Lopez), 576 B.R. 84, 92 (Bankr. S.D. Tex. 2017) (quoting In re
Palacios, 2016 WL 361569 (Bankr. S.D. Tex. Jan. 27, 2017)).
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 12 of 88




     B. Whether fees should be reduced for the failure to comply with Bankruptcy Rule
        2016(b) and Local Rule 2014-1(d)
         Defendants first argue that Applicants’ fees and expenses should be denied entirely because

Applicants failed to obtain Court approval to represent Plaintiffs and failed to timely disclose their

fee arrangements to Plaintiffs.51 This Court’s Summary Judgment Memorandum Opinion has

already discussed at length whether Applicants were properly employed in this case.52 Upon

review of relevant Fifth Circuit case law in effect at the time this case was filed, the Court found

that it was not readily apparent in 2013 that Plaintiffs were required to file an employment

application to employ special counsel pursuant to § 327.53 However, it was undisputed that

Applicants did not timely file the disclosures required by Bankruptcy Rule 2016(b).54 The Court

also found that Applicants failed to comply with Local Rule 2014-1(d).55 The Court concluded

that despite Applicants’ failure, it was proper for this Court to award Plaintiffs reasonable and

necessary attorneys’ fees, but that the failure impacts the reasonableness of Applicants’ fees.56 “It

is well established law that, absent compliance with the Bankruptcy Code and Rules, an attorney

has no absolute right to an award of compensation.”57 It is within this Court’s discretion to reduce

attorney’s fees when attorneys do not comply with the rules governing employment and

compensation of counsel.58 Plaintiffs’ original complaint was filed on December 30, 2013, but


51
   ECF No. 390 at 7-10.
52
   See generally ECF No. 445.
53
   Id. at 14.
54
   Id. at 10.
55
   Id. at 14–16.
56
   Id. at 21–22.
57
   In re Anderson, 936 F.2d 199, 204 (5th Cir. 1991) (citation omitted).
58
   See, e.g., I.G. Petroleum, L.L.C. v. Fenasci (In re W. Delta Oil Co.), 432 F.3d 347, 355 (5th Cir. 2005) (finding that
counsel that fails to make a full disclosure under Rule 2014(a) proceeds at their own risk because failure to do so is
grounds to deny compensation); Klein v. Owsley (In re Owsley), 2022 U.S. Dist. LEXIS 84756, at *10–11 (S.D. Tex.
Mar. 31, 2022) (affirming bankruptcy court’s decision to reduce requested fees because counsel’s nunc pro tunc
request pursuant to Local Rule 2014-1(b) was inadequate); Tex. Comptroller of Pub. Accounts v. Zars (In re Zars),
434 B.R. 421, 433 (Bankr. W.D. Tex. 2010) (“The Court agrees with the Comptroller that, certainly, part of the judge’s
discretion in these matters includes the power to deny attorney’s fees or order their disgorgement when attorneys do
not file Rule 2016(b) statements as the Code requires.”); In re Berg, 356 B.R. 378, 384 (Bankr. E.D. Pa. 2006)
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 13 of 88




Applicants’ Bankruptcy Rule 2016(b) disclosures were not filed until September 17, 2018.59 Such

a significant delay, especially in light of the experience touted by KB Firm, is unreasonable.

         In In re Ball, the District Court for the Southern District of Texas reduced counsel’s

requested fees and expenses by 50% for a similar failure to timely comply with Bankruptcy Rule

2016(b).60 While some courts have uncritically lumped fees and expenses together when reducing

fee awards for failing to comply with applicable employment rules,61 this Court acknowledges that

reducing actual out of pocket expenses is more punitive to a firm than reducing fees on a dollar by

dollar basis. Absent a showing of bad faith, which the Court has already determined was not

present in this case,62 the Court will not penalize Applicants’ allowed expenses and imposes a 50%

penalty only on the requested fees.

          Applicants request in their Post-Trial Brief that any penalty the Court assesses against

them for failing to comply with Local Rule 2014-1(d) or Bankruptcy Rule 2016(b) be paid to one

or more consumer rights legal services organizations as opposed to being merely reduced from the

fee award.63 Although the Court finds this request well placed in spirit, Applicants provide no

authority for the Court to rely on in making this unorthodox proposal. Thus, the Court declines

this request.

         Accordingly, given Applicants’ failure to timely file the required disclosures under

Bankruptcy Rule 2016(b) and comply with Local Rule 2014-1(d), Defendants’ objection is



(decision to sanction for even inadvertent transgressions of the reporting requirements lies within the discretion of the
bankruptcy court).
59
   Bankr. ECF No. 188.
60
   See, e.g., In re Ball, No. 07-32628-H4-13, 2011 WL 7748356, at *2 (Bankr. S.D. Tex. Sept. 23, 2011) (reducing
counsel’s fees and expenses by 50% for failure to file Rule 2016(b) disclosure timely, noting that fees and expenses
could be eliminated completely for failure to comply but that because counsel did provide services benefiting the
debtor, fees and expenses would only be reduced by 50%); In re Kucherka, 2010 Bankr. LEXIS 6316, at *5–6
(Bankr. S.D. Tex. Mar. 23, 2010) (same).
61
   Id.
62
   ECF No. 445 at 21-22.
63
   ECF No. 537 at 4, 28.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 14 of 88




sustained in part and this Court finds it appropriate to reduce any award for fees to Applicants by

50%. The Court shall reduce the $641,737.00 and $34,839.50 in fees sought by KB Firm and

Stone Curtis respectively in the Fee Application by 50% after all line-item reductions are deducted

as discussed infra.

        The Court will next consider whether the requested fees in the Fee Application are

reasonable and necessary.

     C. Whether Applicants’ requested fees in the Fee Application are reasonable and
        necessary

        The Fifth Circuit has adopted the lodestar method for determining the reasonable amount

of attorneys’ fees.64 The lodestar is calculated by multiplying the number of hours reasonably

expended by the prevailing hourly rate in the community for similar work.65 There is a strong

presumption of the reasonableness of the lodestar amount.66 However, after calculating the

lodestar amount, the Court has discretion to adjust the fee upwards or downwards based on the

twelve factors outlined in Johnson v. Georgia Highway Express, Inc.67 Those twelve factors are:

        (1) the time and labor required; (2) the novelty and difficulty of the questions; (3)
        the skill requisite to perform the legal service properly; (4) the preclusion of other
        employment by the attorney due to acceptance of the case; (5) the customary fee;
        (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client
        or other circumstances; (8) the amount involved and the results obtained; (9) the
        experience, reputation, and ability of the attorneys; (10) the “undesirability” of the
        case; (11) the nature and length of the professional relationship with the client; (12)
        awards in similar cases.68




64
   Trevino v. U.S. Bank Trust, N.A. (In re Trevino), 633 B.R. 485, 509 (Bankr. S.D. Tex. 2021) (citing Transamerican
Nat. Gas Corp. v. Zapata P’ship (In re Fender), 12 F.3d 480, 487 (5th Cir. 1994)).
65
   In re Trevino, 633 B.R. at 509.
66
   In re HL Builders, LLC, 630 B.R. 32, 43 (Bankr. S.D. Tex. 2020) (citing Perdue v. Kenny A. ex rel. Winn, 559 U.S.
542, 552 (2010).
67
   488 F.2d 714, 717–19 (5th Cir. 1974).
68
   Johnson, 488 F.2d at 717–19.
         Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 15 of 88




The lodestar may be adjusted only as to those Johnson factors not already taken into account by

the lodestar.69 The four Johnson factors already reflected in the lodestar calculation are: (2) the

novelty and complexity of the issues; (3) the special skill and experience of counsel; (8) the results

obtained from the litigation; and (9) the quality of the representation.70 Aside from the Johnson

factors, the Court may also “consider all relevant factors” in making any adjustment to the lodestar

fee.71

         Bankruptcy courts wield “‘considerable discretion’ when determining whether an upward

or downward adjustment of the lodestar is warranted.”72 Although the party seeking attorney’s

fees bears the initial burden of submitting adequate documentation of the hours reasonably

expended and of the attorney’s qualifications and skill, the party seeking reduction of the lodestar

bears the burden of showing that a reduction is warranted.73

         KB Firm requests compensation of $641,737, which is comprised of 1,643 attorney hours

and 10.2 paraprofessional hours.74 KB Firm additionally requests $63,968.42 in expenses.75 Stone

Curtis requests compensation of $34,839.50, which is comprised of 102.22 attorney hours and

20.75 paraprofessional hours.76 Stone Curtis additionally requests $3,153.17 in expenses.77

         Defendants make the following specific objections to the Fee Application:

         1. The KB Firm failed to justify its high hourly rates as being within the prevailing hourly
            rates for similar work in the McAllen community
         2. The results obtained do not support Plaintiffs’ request for fees



69
   In re Fender, 12 F.3d at 487 (citing Shipes v. Trinity Indus., 987 F.2d 311, 319–20 (5th Cir. 1993)).
70
   In re Pilgrim’s Pride Corp., 690 F.3d 650, 656 (5th Cir. 2012) (citing In re Fender, 12 F.3d at 488).
71
   Barron & Newburger, P.C. v. Tex. Skyline, Ltd. (In re Woerner), 783 F.3d 266, 277 (5th Cir. 2015).
72
   Id. (citing Cahill v. Walker & Patterson, P.C., 428 F.3d 536, 540 (5th Cir. 2005)).
73
   Hensley, 461 U.S. at 437.
74
   ECF No. 374 at 1. KB Firm notes that 2,197.7 attorney hours and 324.1 paraprofessional hours were expended on
this case, but KB Firm self-adjusted the number of hours covered by the Fee Application.
75
   Id.
76
   Id. at 2.
77
   Id.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 16 of 88




        3. Plaintiffs’ claims were neither complex nor novel
        4. The time spent by Plaintiffs’ counsel in litigating the claims was wholly unreasonable
        5. The Fee Application is replete with instances of top-heavy billing, overstaffing, and
           overbilling for the tasks involved
        6. Defendants’ offer of judgment early in the adversary proceeding warrants a substantial
           reduction to Plaintiffs’ requested fees78
Defendants’ objections are to the lodestar calculation itself, including the four Johnson factors

subsumed by the lodestar. The Court will consider each objection in turn.

        1. Reasonableness of the hourly rates charged
        The Court must determine the reasonable hourly rate for Applicants in this case. A

reasonable hourly rate is based on the prevailing market rates in the community where the trial

court sits.79 The applicant must prove that the rates sought are in accordance with the prevailing

community rates for similar services by reasonably comparable attorneys.80 A district court may

not rely on its own experience in the relevant legal market to set a reasonable hourly billing rate.81

In the Fifth Circuit, out-of-town counsel may be awarded out-of-town rates under certain limited

circumstances and Applicants have the burden to establish the necessity of hiring out of town

counsel.82 Courts employ a two-prong test to determine whether out-of-town rates may be

awarded: (1) “whether hiring out-of-town counsel was reasonable in the first instance,” and (2)

“whether the rates sought by the out-of-town counsel are reasonable for an attorney of his or her

degree of skill, experience, or reputation.”83

        The Court will consider both the rates billed by KB Firm and by Stone Curtis in turn.


78
   ECF No. 390.
79
   E.g., Blum v. Stenson, 465 U.S. 886, 895 (1984); Tollett v. City of Kemah, 285 F.3d 357, 368 (5th Cir. 2002).
80
   Lopez v. Portfolio Recovery Assocs., LLC (In re Lopez), 576 B.R. 84, 92 (Bankr. S.D. Tex. 2017) (citing McClain
v. Lufkin Indus. Inc., 649 F.3d 374, 381 (5th Cir. 2011)).
81
   League of United Latin Am. Citizens #4552 v. Roscoe Indep. Sch. Dist., 119 F.3d 1228, 1234 (5th Cir. 1997)
(citations omitted).
82
   In re Lopez, 576 B.R. at 92 (citing McClain, 649 F.3d at 382); McClain v. Lufkin Indus., Inc., 649 F.3d 374, 381-
382 (5th Cir. 2011).
83
   Id. (quoting In re Rodriguez, 517 B.R. 724, 731 (Bankr. S.D. Tex. 2014)).
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 17 of 88




                  a. KB Firm’s rates
           The rates KB Firm charged for the work of attorneys and seeks to recover under the Fee

Application are as follows:

           i.     Karen L. Kellett (“Kellett”) - $500/hour

           ii.    Theodore O. Bartholow, III (“Bartholow”) - $400/hour through 12/31/2017;
                  $435/hour post-12/31/2017

           iii.   Caitlin N. Wells (“Wells”) - $250/hour through 5/31/2015; $300/hour post-
                  5/31/2015

           iv.    Megan. F. Clontz (“Clontz”) - $200/hour through 5/31/2015; $250/hour post-
                  5/31/2015

           v.     Claude D. Smith (“Smith”) - $350/hour

           vi.    O. Max Gardner, III (“Gardner”) - $475/hour84

Applicants contend that the rates charged by KB Firm “are reasonable and are consistent with the

rates charged by attorneys of similar experience, skill, and reputation in the area of consumer

bankruptcy litigation involving mortgage-related abuses of the Bankruptcy Code and Rules and

violations of the FDCPA.”85 Defendants object, asserting that Applicants have not offered any

evidence of the prevailing hourly rates for lawyers in the McAllen area.86 Defendants argue that

rates should be limited to $300.00 per hour and cite Moreno v. Perfection Collection, LLC in

support.87 In Moreno, the court held that “[a]ttorneys in cases under the FDCPA within the

Southern District of Texas, Houston Division, are generally awarded fees using a $300.00 hourly

rate.”88




84
   ECF No. 374.
85
   Id. at 9–10, ¶ 13.
86
   ECF No. 390 at 18–19, ¶ 38.
87
   ECF No. 538 at 19.
88
   No. CV H-18-2757, 2018 WL 6334837, at *1 (S.D. Tex. Dec. 5, 2018).
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 18 of 88




        In response to Defendants, Applicants assert that it was reasonable for Plaintiffs to hire

out-of-town counsel where “there are essentially no consumer bankruptcy litigation attorneys in

the McAllen or Brownsville Division [sic] of the Southern District of Texas that have the

knowledge and legal/financial resources to engage in the type of litigation at issue here.”89

Applicants also respond to Defendants citation to Moreno by noting that the issues in Moreno were

less complicated than the present case, Defendants’ expert did not opine on the reasonableness of

KB Firm’s rates, and that this Court has previously found KB Firm’s rates reasonable in similar

cases.90 Satisfactory evidence that the requested rate is reasonable usually consists of declarations

or evidence of rates actually billed and paid by plaintiff’s counsel; rates charged by attorneys in

similar lawsuits; and the relative skill of the attorney involved.91

        At trial, Applicants presented testimony from two current practitioners in the Rio Grande

Valley, Marcos Oliva (“Oliva”) and Abelardo Limon (“Limon”), as well as testimony from one of

the Applicants in this case, Ellen Stone (“Stone”). Stone, who served as primary counsel for

Plaintiffs in their bankruptcy, testified that she was not personally equipped to take on a large

mortgage litigation case nor did she have personal knowledge of any other consumer bankruptcy

lawyer in the Rio Grande Valley taking on large mortgage litigation cases.92 Stone testified that

her practice focused on volume chapter 7 and 13 filings, and that matters such as the present case

were generally referred to outside counsel.93 Limon testified that his practice is also primarily a

volume consumer bankruptcy practice, and that in his twenty years practicing in the Rio Grande

Valley he had only filed three adversary proceedings, none of which from his recollection were




89
   ECF No. 465 at 13.
90
   ECF No. 537 at 13.
91
   Blum, 465 U.S. at 896 n.11.
92
   ECF No. 525 at 31-32, 35, ¶¶ 8-11.
93
   Id. at 31, ¶ 19 – 32, ¶ 1.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 19 of 88




related to mortgage servicing litigation.94 Limon further testified that he was not aware of any

other firm in the Rio Grande Valley that brings mortgage servicing litigation against major lenders

and mortgage servicers on behalf of debtors.95 Oliva similarly testified that he generally would

not initiate an adversary against a lender or mortgage servicer on behalf of his clients, and that he

was not familiar with any other firms in the Rio Grande Valley that do.96

         In an analogous case, In re Lopez, this Court found that it was reasonable for the plaintiff

to hire KB Firm to represent him where: (1) the adversary proceeding involved both bankruptcy

and consumer causes of action; (2) law firms in the McAllen/Brownsville area lacked the resources

necessary to appropriately litigate a case such as the plaintiff’s; (3) Stone Curtis, the plaintiff’s

bankruptcy counsel, maintained a relationship with KB Firm that the plaintiff reasonably relied on

in choosing counsel; and (4) based on Kellett’s testimony, the RGV had a need for consumer

financial litigation attorneys and KB Firm filled that need.97

         Here, Plaintiffs’ asserted bankruptcy causes of action such as violations of Rule 3002.1 and

a claim objection, plus consumer causes of action such as FDCPA violations.98 Thus, just as in In

re Lopez, Plaintiffs’ adversary proceeding consisted of both bankruptcy and consumer causes of

action. Plaintiffs, like the plaintiff in In re Lopez, also employed Stone Curtis as their bankruptcy

counsel99 and relied on the relationship between Stone Curtis and KB Firm in choosing KB Firm

to represent them in the adversary proceeding. The Court also finds based on the testimony

discussed supra from Stone, Limon, and Oliva that no firm in the Rio Grande Valley would have

accepted the case at the time and that KB Firm filled that need. Therefore, just as it was reasonable



94
   Id. at 126, ¶¶ 3-11, 128, ¶ 20 – 129, ¶ 6.
95
   Id. at 130, ¶¶ 6-13.
96
   Id. at 152, ¶¶13-19, 163, ¶¶ 17-20.
97
   576 B.R. at 97–99.
98
   ECF No. 342.
99
   Case No. 10-70594.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 20 of 88




in In re Lopez for the plaintiff to hire KB Firm to represent him in his adversary proceeding against

a creditor, it was reasonable here for Plaintiffs to hire the KB Firm. The Court also distinguishes

the present case from Moreno by noting, as asserted by Applicants, that Moreno involved only

straight forward FDCPA claims that did not interact with bankruptcy claims.100 Thus, Moreno

was less complicated than the case sub judice. Furthermore, Moreno does not stand for the

proposition that $300.00 is the most that a court can award for litigation of FDCPA claims, only

that it is the rate “generally awarded.”101 Determining a reasonable rate is a fact intensive inquiry

that will invariably change on a case-by-case basis.

        The Court next considers whether the rates charged by KB Firm are reasonable based on

the degree of experience, skill, or reputation of the attorneys who worked on the case.102 The

reasonable rate is based on the out-of-town counsel’s “home” rates, i.e., Dallas.103 In In re Lopez,

this Court found that, based on Kellett’s expert testimony regarding billing rates in the Dallas area,

KB Firm’s fees were “commensurate with the reasonable rates charged by a qualified Dallas

litigator.”104 At trial, Kellett provided expert testimony that KB Firm billing rates in this case were

reasonable and commensurate with those approved in Dallas courts and by this Court in similar

cases involving FDCPA claims in the past.105 As such, this Court finds that the rates charged by

KB Firm in this case were likewise commensurate with the reasonable rates charged by a qualified

Dallas litigator.

        Accordingly, the Court finds that it was reasonable for Plaintiffs to employ KB Firm and

KB Firm’s hourly rates are reasonable and Defendants’ objection is overruled.



100
    See Moreno, No. CV H-18-2757, 2018 WL 6334837.
101
    See id.
102
    In re Lopez, 576 B.R. at 92.
103
    Id. at 100 (citing McClain, 649 F.3d at 382).
104
    Id. (quoting In re Rodriguez, 517 B.R. at 733).
105
    ECF No. 525 at 181, ¶ 11 – 183, ¶ 25; ECF No. 526 at 12, ¶ 13 – 15, ¶ 9; ECF No. 526 at 118, ¶¶ 5-15.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 21 of 88




                  b. Stone Curtis’ rates

         The rates Stone Curtis charged for the work of attorneys and seeks to recover under the

Fee Application are as follows:

         i.       Catherine Stone Curtis (“Curtis”) - $225 for 3.7 hours; $350 for 1.75 hours

         ii.      Ellen Stone - $300 for 0.25 hours; $350 for 82.52 hours; $375 for 0.1 hours
While the Fee Application discloses the rates charged by Stone Curtis, the Fee Application does

not independently speak to the qualifications and skills of the attorneys at Stone Curtis.106

Nevertheless, Defendants’ objection solely addresses the rates charged by the KB Firm, not those

charged by Stone Curtis107 and “[w]hen the rate is not contested, it is prima facie reasonable.”108

         Accordingly, the Court finds that the rates billed by Stone Curtis are reasonable.

         2. Reasonableness of hours expended

         The second step in calculating the lodestar is determining the number of hours reasonably

expended. Defendants lodged several objections regarding the reasonableness of the hours billed

as discussed supra: (a) the results obtained do not support Plaintiffs’ request for fees; (b) Plaintiffs’

claims were neither complex nor novel; (c) the time spent by Plaintiffs’ counsel in litigating the

claims was wholly unreasonable; (d) the Fee Application is replete with instances of top-heavy

billing, overstaffing, and overbilling for the tasks involved; (e) Defendants’ offer of judgment early

in the adversary proceeding warrants a substantial reduction to Plaintiffs’ requested fees.109

         The Court takes each in turn.

                  a. Whether the results obtained support Plaintiffs’ request for fees




106
    Id. at 9–11, ¶¶ 13–19.
107
    Id.
108
    La. Power & Light Co., 50 F.3d at 328 (quoting Islamic Ctr. v. Starkville, 876 F.2d 465, 469 (5th Cir. 1989)).
109
    ECF No. 390.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 22 of 88




        Defendants argue that the hours expended by Applicants and the attorneys’ fees requested

are not reasonable because they are disproportionate to the success Plaintiffs realized in this

adversary proceeding; and “special circumstances” justify denying the request for fees entirely.110

Defendants raised these same arguments in their Motion for Summary Judgment.111 The Court

denied summary judgment to Defendants and granted in favor of Plaintiffs on the issue of

proportionality.112 This Court found that there is no proportionality requirement in the Fifth Circuit

between the damages awarded and the attorneys’ fees sought.113

        Although no proportionality requirement exists in the Fifth Circuit, this Court must

nevertheless consider Plaintiffs’ overall success in determining the reasonableness of any

attorneys’ fee award, which may include consideration of the proportionality of the attorneys’ fees

sought to the damages awarded.114 To determine whether to adjust the fee award where a plaintiff

succeeded on only some claims, courts contemplate two questions: (i) “did the plaintiff fail to

prevail on claims that were unrelated to the claims on which he succeeded?”; and (ii) “did the

plaintiff achieve a level of success that makes the hours reasonably expended a satisfactory basis

for making a fee award?”115            A party may not recover attorney’s fees for work done on

unsuccessful claims that were “distinctly different claims for relief that are based on different facts

and legal theories,” because that work “cannot be deemed to have been ‘expended in pursuit of the

ultimate result achieved.’”116 Conversely, where the successful and unsuccessful claims “involve



110
    ECF No. 390 at 11–15, ¶¶ 23–31.
111
    ECF No. 429 at 13–17, ¶¶ 29–38.
112
    ECF No. 445 at 26–27; ECF No. 451 at 2, ¶ 1(b).
113
    ECF No. 445 at 26–27; ECF No. 451 at 2, ¶ 1(b).
114
    Hensley, 461 U.S. at 436 (“Again, the most critical factor is the degree of success obtained.”); Gurule v. Land
Guardian, Inc., 912 F.3d 252, 259 (5th Cir. 2018) (finding that the district court did not err in considering the
relationship between the amount of the fee awarded and the results obtained).
115
    Hensley, 461 U.S. at 434.
116
    Miniex v. Houston Hous. Auth., 2019 U.S. Dist. LEXIS 174525, at *18 (S.D. Tex. Sept. 13, 2019) (quoting Hensley,
461 U.S. at 434–35).
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 23 of 88




a common core of facts or will be based on related legal theories,” a court “should focus on the

significance of the overall relief obtained by the plaintiff in relation to the hours reasonably

expended on the litigation.”117 The Court will consider each in turn.

         i.       Whether Plaintiffs failed to prevail on claims that were unrelated to the claims
                  on which they succeeded
         Plaintiffs originally brought 21 counts, but only 14 of those counts were asserted against

USBT and Caliber: (1) abuse of process, (2) violation of the automatic stay (3002.1 Notice), (4)

relief pursuant to Bankruptcy Rule 3002.1, (5) claim objection pursuant to Rule 3001 to claim no.

21, (6) claim objection as to claim no./docket no. 82, (9) violations of FDCPA (as to Caliber with

respect to July 24, 2013 3002.1 Notice), (10) violations of Texas Debt Collection Act, (11)

unreasonable debt collection, (12) breach of contract, (16) sanctions, (17) request for injunctive

relief, (18) request for declaratory relief, (19) request for actual and punitive damages, and (20)

request for attorneys’ fees.118 In their Second Amended Complaint, Applicants withdrew count

(2) violation of the automatic stay (3002.1 Notice).119

         Five counts (one in part) were dismissed by this Court’s Amended Order on Defendants’

Motion to Dismiss: (4) relief pursuant to Rule 3002.1, (5) claim objection pursuant to Rule 3001

to claim no. 21, (9) violations of FDCPA, but only as to the claim against Caliber pursuant to 15

U.S.C. § 1692e(12); (10) violations of Texas Debt Collection Act, and (11) unreasonable debt

collection.120

         At trial, Plaintiffs did not prevail on the following counts: (12) breach of contract, (17)

request for injunctive relief, and (18) declaratory relief.121 Plaintiffs prevailed on the following



117
    Id. (quoting Hensley, 461 U.S. at 435).
118
    ECF No. 78.
119
    Id.
120
    ECF No. 106.
121
    ECF No. 342.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 24 of 88




counts: (1) abuse of process; (6) claim objection as to claim no./docket no. 82; and (9) violations

of the FDCPA.122 The following counts were granted in part and denied in part: (19) request for

actual and punitive damages and (20) request for attorneys’ fees.123 Plaintiffs were not awarded

any actual damages, but were awarded $9,000 in punitive damages under § 105(a).124 Plaintiffs

were also awarded $1,000 in statutory damages under § 1692k(a)(2)(A).125 Lastly, Plaintiffs were

awarded attorneys’ fees for prosecution of their claims for abuse of process and violations of the

FDCPA.126 Plaintiffs assert that all of the claims remaining after adjudication of Defendants’

Motion to Dismiss were closely related and thus even time spent on the unsuccessful claims is

compensable.127

        In Miniex, the court determined that the plaintiff’s dismissed claims were somewhat

factually interrelated with her successful claims and therefore, the time spent litigating the

dismissed claims should not be automatically deducted from the fee award.128 Here, Plaintiffs’

dismissed and denied claims were factually interrelated with their successful claims because they

were all based on Defendants’ failure and refusal to amend or withdraw the July 24, 2013 Rule

3002.1 notice despite not being owed the money claimed in the notice.129 As such, the time spent

litigating the dismissed and denied claims will not be automatically reduced because the legal

theory on which those claims were based was not “distinctly different” than the theory upon which

Plaintiffs’ successful claims were based.

        ii.      Whether Plaintiffs achieved a level of success that makes the hours reasonably
                 expended a satisfactory basis for making a fee award


122
    Id.
123
    Id.
124
    Id.
125
    Id.
126
    Id.
127
    ECF No. 374 at 4–5.
128
    2019 U.S. Dist. LEXIS 174525, at *18.
129
    ECF No. 78.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 25 of 88




        In Miniex, despite finding that the plaintiff’s fee award should not be automatically reduced

for her failure to succeed on claims that were factually interrelated to those on which she was

successful, the court found that a 35% reduction of time spent on motions for summary judgment

and objections was warranted because the plaintiff’s “relief, however significant, [was] limited in

comparison to the scope of the litigation as a whole.”130 “In determining a reasonable attorney’s

fee award based on the plaintiff’s degree of success, there is no precise rule or formula, instead the

district court necessarily has discretion in making this equitable judgment.”131

        Here, Plaintiffs were successful on very few counts compared to the 14 originally lodged

against Defendants, winning $1,000 in statutory damages and $9,000 in punitive damages.132

Although eight counts made it to trial, this Court’s Trial Judgment explicitly stated that “[u]nder

Count I and pursuant to 11 U.S.C. § 105(a), Plaintiffs are awarded reasonable and necessary

attorneys’ fees and expenses against Caliber and USBT in an amount to be determined by this

Court for prosecuting the abuse of process claim” and “[u]nder Count IX and pursuant to 15 U.S.C.

§ 1692k(a)(3), Plaintiffs are awarded reasonable and necessary attorneys’ fees and expenses

against Caliber in an amount to be determined by this Court for prosecuting the 15 U.S.C.

§§ 1692e, 1692e(2), 1692e(5), 1692f, and 1692f(1) claims.”133 Thus, the Court’s award of

attorneys’ fees was expressly limited. Additionally, the Fee Application states that “injunctive

relief became moot as to [USBT] and Caliber when Wilmington Trust filed a notice of transfer of

claim on July 6, 2015. After that date, Plaintiffs spent no time on injunctive relief . . . .” 134 The

Court does not see how that statement can be true when the injunctive relief continued to be



130
    2019 U.S. Dist. LEXIS 174525, at *18–19 (quoting Combs v. City of Huntington, 829 F.3d 388, 394 (5th Cir.
2016)).
131
    Combs, 829 F.3d at 396 (cleaned up).
132
    ECF No. 342.
133
    Id. (emphasis added).
134
    ECF No. 374 at 4, ¶ 6.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 26 of 88




asserted against USBT and Caliber and was argued at trial, four years after Plaintiffs’ assert that it

became moot.135 Lastly, the Fee Application states that KB Firm “wrote off any time specifically

related to Plaintiffs’ negligence claims [count 10] and Plaintiffs’ § 1692e(12) claim [count 9], all

of which was incurred prior to the Court’s dismissal of those claims in its July 31, 2015 opinion

on the motions to dismiss.”136 Applicants make no mention of time specifically related to counts

4, 5, and 11, however.

         Despite the factual interrelation between the successful and unsuccessful claims, the Court

finds that the level of success realized does not justify expending a combined 1,745.22 professional

hours on this case. Although this Court notes that KB Firm wrote off a total of 554.7 hours in

exercising billing judgment, further reduction is warranted.

         Accordingly, Defendants’ objection is sustained and Applicants overall fees will be

reduced by an additional 20% to account for the results obtained. The Court shall reduce the

$641,737.00 and $34,839.50 in fees sought by KB Firm and Stone Curtis respectively in the Fee

Application by an additional 20% after all line-item reductions are deducted as discussed infra.

                  b. Whether Plaintiffs’ claims were neither complex nor novel
         Defendants argue that because Plaintiffs’ claims were not novel and complex that Plaintiffs

“did not need multiple rounds of depositions and discovery to learn the basic facts upon which

they relied at trial.”137

         Courts consider the novelty and complexity of particular claims when a party is seeking

enhancement of an award.138 An award should be enhanced only in exceptional cases “in which

the issues are so novel or complex that the lodestar amount awarded would not provide a


135
    ECF No. 332 at 71, ¶ 12, 138, ¶ 23 – 139, ¶ 10.
136
    ECF No. 374 at 4–5, ¶ 7.
137
    ECF No. 390 at 16–18, ¶¶ 32–36.
138
    Von Clark v. Butler, 916 F.2d 255, 260 (5th Cir. 1990) (citing Pennsylvania v. Delaware Valley Citizens’ Council,
478 U.S. 546, 566–67 (1985)).
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 27 of 88




reasonable fee that would adequately reflect the quality of the representation.”139 Based on the

Fee Application and Plaintiffs’ Response, although Applicants assert that the claims were novel

and complex, no award enhancement based on that novelty and complexity is sought. In fact, the

Fee Application notes that the novelty and complexity of issues is subsumed in the lodestar.140

         Accordingly, because the second Johnson factor—novelty and difficulty of the issue—is

subsumed in the lodestar141 and Plaintiffs are not seeking an upward adjustment of the award,

Defendants’ objection is overruled.

                  c. Whether the time spent by Plaintiffs’ counsel in litigating the claims was
                     wholly unreasonable

         Defendants next argue that the amount of time spent on motions practice was unnecessary,

time entries were block billed, Plaintiffs are seeking payment from Defendants for work on matters

against HSBC, and excessive amounts of time were spent on several matters.142 The Court will

consider each in turn.

                           i.       Meritless filings

         Defendants complain that Plaintiffs are seeking an absurd amount—approximately

$44,000—related to their Motion to Compel.143 Defendants’ primary argument is that the $44,000

should be reduced or denied entirely where this Court found that the motion raised meritless “argle-

bargle” regarding the form of electronically stored documents and agreed with Defendants that

some of Plaintiffs’ discovery requests were vague, broad, or burden-shifting.144 Where a plaintiff

prevails in a lawsuit, “[a]ttorney’s fees are properly awarded even from plaintiff’s unsuccessful




139
    Id.
140
    ECF No. 374 at 17.
141
    In re Pilgrim’s Pride Corp., 690 F.3d at 656 (citing In re Fender, 12 F.3d at 488).
142
    ECF No. 390 at 16–18.
143
    ECF No. 390 at 16, ¶ 33.
144
    Id.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 28 of 88




motions practice.”145 Excluding time spent on motions practice that is without merit, as opposed

to merely unsuccessful, may be appropriate.146

        While this Court referred to Plaintiffs’ requests for production numbered three through

nine as “meritless argle-bargle,” this Court denied in part and granted in part several of Plaintiffs’

other requests on the merits.147 Plaintiffs’ Motion to Compel pertained to twenty requests for

production. Of those twenty, Plaintiffs’ arguments about seven of those requests were meritless

and another three were withdrawn. Therefore, Plaintiffs’ Motion to Compel with respect to ten

requests for production, although successful only in part, was not meritless. This Court finds that

a 50% reduction of the fees expended for the Motion to Compel is warranted. Despite their

objection, Defendants failed to present any evidence explaining the source of the $44,000 figure

in their objection at trial. Defendants do not provide an explanation for the $44,000 figure in their

Post-Trial Brief either. Notwithstanding, the Court has identified $25,195 in billing entries that

pertain specifically to the motion to compel:148




145
    Feld Motor Sports, Inc. v. Traxxas, LP, 2016 U.S. Dist. LEXIS 62750, at *28 (E.D. Tex. May 12, 2016) (quoting
Alvarado v. Five Town Car Wash Inc., 2015 U.S. Dist. LEXIS 123057, at *5 (E.D.N.Y. July 23, 2015)).
146
    Id. (noting that the cases cited by the defendant “excluded time spent on unsuccessful efforts, not because the
motions were unsuccessful, but because the court in those cases, found the motion practice to be without merit.”).
147
    See ECF No. 184 at 36; ECF No. 185.
148
    ECF No. 374-1 at 48, 54-57; *6/6/2016 billing entry reduced only as it pertains to the motion to compel.
Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 29 of 88
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 30 of 88




           The Court reduces the above fees by 50% from $25,195 to $12,597.50. Additionally, the

Court has identified $32,980 in billing entries that pertain to the motion to compel in addition to

other matters:149




The Court finds that each of the above entries, in addition to pertaining at least in part to the motion

to compel, are also largely block-billed and/or vague in their description. Large billing entries

with vague descriptions such as “preparation for hearing” hinders the Court’s ability to assess the

reasonableness of these fees. Similarly, time spent preparing for separate motions should be

separated into different billing entries. As such, the above entries are also reduced by 50% from

$32,980 to $16,490.

           In sum, fees pertaining to the motion to compel are reduced by 50% from $58,175 to

$29,087.50.

           ii.     Block billed and vague time entries


149
      ECF No. 374-1 at 56-58.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 31 of 88




        Defendants next complain that the Fee Application contained several block-billed entries

to include: (1) Kellett and Clontz’s time entries on October 4, 2016, in the amount of $950 and

$3,275, respectively; (2) $3,000 on August 25, 2014 on several general tasks that were aggregated

with other work making it impossible for the Court to determine whether the time spent on each

task was reasonable; and (3) approximately $60,800 to “prepare for trial” without substantiating

what those preparations were.150

        A time entry may be denied as vague if multiple services are lumped together without

distinguishing the time spent on each task.151 Block-billed entries are typically reduced because

they lack specificity from which the court can determine their reasonableness and necessity.152

Where the amount of block-billed entries are egregious, a court may reduce the fee award by a

greater percentage than if block-billed entries are scarce.153 Likewise, the phrase “prepare for

trial” is an “exceptionally terse description[] of activities [that does] not satisfy the applicant’s

burden”154 of presenting adequate documentation of the hours reasonably expended.155 The

documentation provided “must be sufficient for the court to verify that the applicant has met its

burden.”156 While this Court recognizes that substantial time is needed to prepare for trial, vague

descriptions such as “prepare for trial” do not provide enough information for the Court to conduct




150
    ECF No. 390 at 16–17, ¶ 34.
151
    In re HL Builders, LLC, 2020 Bankr. LEXIS 3055, at *20 (Bankr. S.D. Tex. Oct. 30, 2020) (citing In re Digerati
Tech., Inc., 537 B.R. 317, 334 (Bankr. S.D. Tex. 2015)).
152
    In re Mata, 2020 Bankr. LEXIS 3102, at *26 (Bankr. S.D. Tex. Oct. 29, 2020).
153
    Id.
154
    Nassar v. Univ. of Tex. Sw. Med. Ctr., 2010 U.S. Dist. LEXIS 76711, 2010 WL 3000877, at *4 (N.D. Tex. July 27,
2010) (citations omitted).
155
    League of United Latin Am. Citizens # 4552 v. Roscoe Indep. Sch. Dist., 119 F.3d 1228, 1233 (5th Cir. 1997).
156
    La. Power & Light Co. v. Kellstrom, 50 F.3d 319, 324 (5th Cir. 1995).
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 32 of 88




a meaningful evaluation of the challenged hours.157 Time awarded may be reduced or eliminated

for vague entries.158

        Regardless of objections to fee applications, or lack thereof, the Court’s duty is to examine

the application for non-compensable hours. Therefore, the Court has reviewed the Fee Application

for all block-billed entries and those containing the “prepare for trial” description, including those

entries complained of by Defendants. The entries meeting Defendants’ descriptions are as

follows:159




157
    See, e.g., Preston Exploration Co., LP v. GSP, LLC, 2013 U.S. Dist. LEXIS 88786, at *22–23 (S.D. Tex. June 25,
2013); Williams v. Shinseki, 2013 U.S. Dist. LEXIS 64485, at *7–9 (N.D. Tex. May 6, 2013); Nassar, 2010 U.S. Dist.
LEXIS 76711, 2010 WL 3000877, at *13.
158
    Nassar, 2010 U.S. Dist. LEXIS 76711, 2010 WL 3000877, at *12; Williams, 2013 U.S. Dist. LEXIS 64485, at *9.
159
    ECF No. 374-1 at 42, 57, 121-124.
Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 33 of 88
Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 34 of 88
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 35 of 88




Here, because only approximately 30 of more than 600 time entries are block billed or contain the

vague “prepare for trial” description, the Court concludes that the fees should be reduced rather

than eliminated altogether.

        As such, Applicants’ block-billed entries and entries containing the “prepare for trial”

description are reduced by 30%160 from $92,585 to $64,809.50.

        iii.     Work on matters related to dismissed defendant HSBC

        Defendants next argue that time billed for work related to dismissed defendant HSBC

should be reduced or eliminated.161 KB Firm seeks fees and expenses for general work performed

between December 2013 and July 7, 2014 in the amount of $3,675 and $495.99 respectively.162




160
    See In re HL Builders, LLC, 630 B.R. 32, 52–53 (Bankr. S.D. Tex. 2020) (reducing certain time entries by 30% for
vagueness).
161
    ECF No. 390 at 16-17.
162
    ECF No. 374 at 34-37, 41.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 36 of 88




KB firm seeks fees and expenses for general work performed between July 8, 2014 and March 21,

2016 in the amount of $56,210 and $3,743.12 respectively.163

        On Kellett’s own admission that the work on general matters could not be divided between

HSBC, USBT, and Caliber, this Court found that fees and expenses for work on general matters

billed between December 2013 and July 7, 2014 should be capped at $1,837.50 and $247.99,

respectively and between July 8, 2014 and March 21, 2016, should be capped at $28,105 and

$1,871.56, respectively, subject to Applicants’ demonstration that such fees and expenses were

reasonable and necessary.164

        At trial, Kellett testified that the fees and expenses sought between December 2013 and

July 7, 2014, and July 8, 2014 and March 21, 2016, were for work on general matters that are not

solely related to HSBC.165 Wells also indicated in her testimony that work performed between

December 2013, to July 7, 2014, and July 8, 2014, to March 21, 2016, was for work that is not

solely related to HSBC.166 Based on the testimony presented by Kellett and Wells at trial, the

Court finds that Applicants have carried their burden to show that work on general matters between

December 2013 to July 7, 2014 and July 8, 2015 to March 21, 2016, was reasonable and necessary.

        As such, in accordance with the fee caps discussed supra, Applicants are awarded fees and

expenses in the amount of $1,837.50 and $247.99, respectively for general work performed

between December 2013 and July 7, 2014, and are awarded $28,105 and $1,871.56 in fees and

expenses for general work performed between July 8, 2014 and March 21, 2016.

        Defendants also complain that Applicants are improperly seeking approximately $58,000

in fees for work related to a motion to dismiss and motion for judgment on the pleadings filed


163
    Id. at 42-47, 51-52.
164
    ECF No. 445 at 39.
165
    ECF No. 526 at 166, ¶ 21 – 167, ¶ 23.
166
    ECF No. 525 at 174, ¶ 23 – 175, ¶ 14; 176, ¶¶ 15-20.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 37 of 88




solely by HSBC.167 Although Defendants identify specific page numbers and brief descriptions of

what they object to, they do not identify the specific time entries.168 After review, the Court

identifies only one entry that Applicants seek compensation for that relates to HSBC other than

those already discussed for work on general matters:169




Furthermore, Wells provided testimony at trial that all matters that pertained solely to HSBC were

segregated out of the Fee Application.170 Other than the one entry identified above, the Court finds

Wells’ testimony to be an accurate reflection of the billing records.

         As such, the one billing entry identified above is reduced by 30% from $850.00 to $595.00.

         iv.      Excessive billing

         Lastly, Defendants complain that Applicants spent an excessive amount of time on several

matters to include: (a) approximately $11,000 to draft Plaintiffs’ Second Amended Complaint; (b)

approximately $15,000 to respond to Defendants’ motion to dismiss; (c) approximately $33,000

to prepare two motions for sanctions, one of which was withdrawn and the other apparently never

filed; (d) approximately $22,000 preparing for and deposing a Caliber corporate representative;

(e) approximately $14,000 reviewing the deposition of the first Caliber corporate representative;

(f) approximately $25,000 preparing to file a summary judgment motion; and (g) approximately

$7,000 drafting a sur-reply in opposition to Defendants’ summary judgment motion, which appears

not to have been filed.171


167
    ECF No. 390 at 17, ¶ 35.
168
    Id. n.56 (“[ECF No. 374-1] at 42–44 (related to discovery motion and HSBC’s Motion for Judgment on the
Pleadings); 44-45 (related to the motions to dismiss); 46 (related to a status conference); and 47 and 53 (related to
mediation)).
169
    ECF No. 374-1 at 58.
170
    ECF No. 526 at 31, 33
171
    ECF No. 390 at 17–18, ¶ 36.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 38 of 88




        “Generalized statements that time spent was unreasonable or unnecessary are not

particularly helpful and not entitled to much weight.”172 Here, Defendants simply state that

“[Plaintiffs’] counsel spent an excessive amount of time on several additional matters . . . .”173

Defendants provide no explanation as to why the time spent was excessive. Nevertheless, the

Court considers each complaint in turn.

        Defendants offered an expert report prepared by former bankruptcy judge Dennis Michael

Lynn (“Lynn”) that speaks to Plaintiffs’ second amended complaint. Lynn compared Plaintiffs’

Second Amended Complaint (“SAC”) to their First Amended Complaint (“FAC”) and stated that

because the SAC was substantially similar to the FAC and many of the differences were in regard

to HSBC, not Defendants, charges attributable to Defendants for the changes should not exceed

$1,500.174 The time entries pertaining to the SAC are:175

            Adversary           Conference with E. Stone about status confernece
   9/2/2014 Proceeding   KLK    nad Court's ruling for us to re-plead                    $500.00            0.3      $150.00
            Adversary           Conference with TO3 regarding stratgey after hearin
  9/15/2014 Proceeding   KLK    gand prior to amended complaint                          $500.00            0.4      $200.00
            Adversary           Further drafting of amended complaint, review
 10/15/2014 Proceeding   KLK    discovery and case law for same                          $500.00        11.6        $5,800.00
            Adversary           Edit amended complaint and evaluate formulation of
 10/15/2014 Proceeding   TOB    causes of action for amended complaint                   $400.00             6      $2,400.00
            Adversary
 10/29/2014 Proceeding   KLK    Further draft of second amended compolaint.              $500.00             4      $2,000.00
            Adversary
 10/30/2014 Proceeding   CNW    Edit second amended complaint.                           $250.00            1.5      $375.00
            Adversary
 10/31/2014 Proceeding   CNW    Continue editing second amended complaint                $250.00             1       $250.00
            Adversary
  3/11/2015 Proceeding   CNW    Edit amended complaint to comply with court's rulings.   $250.00            0.5       $125.00
                                                                                                   Total:         $11,300.00




172
    Castorena v. Mendoza, 2011 U.S. Dist. LEXIS 166802, at *14 (S.D. Tex. Mar. 14, 2011) (quoting Norman v.
Housing Authority of City of Montgomery, 836 F.2d 1292, 1302 (11th Cir. 1988)).
173
    ECF No. 390 at 17–18, ¶ 36.
174
    ECF No. 490-7 at 5.
175
    ECF No. 374-1 at 43-44.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 39 of 88




This Court agrees with Lynn’s expert report. The time billed by KB Firm for the SAC was neither

necessary nor reasonable.

        As such, the above fees billed for work on the Second Amended Complaint are reduced

from $11,300 to $1,500.

        Defendants provide no explanation as to why the time billed for responding to Defendants’

motion to dismiss was excessive.176 While the proponent of a fee application carries the ultimate

burden to show that the fees sought are reasonable, an objecting party must provide detailed

information explaining why the fees sought are not reasonable.177 The complained of entries are

as follows:178




176
    ECF No. 390 at 17, ¶ 36.
177
    Wegner v. Standard Ins. Co., 129 F.3d 814, 823 (5th Cir. 1997).
178
    ECF No. 374-1 at 38-39.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 40 of 88




                               Review motion to dismiss filed by US Bank and
                               Caliber. (.6) Email to S. Holmes regarding need to
            Adversary          settle before Plaintiffs' counsel incurs expense relating
   2/3/2014 Proceeding   KLK   to motion to dismiss. (.1) (N/C)                            $500.00            0.6      $300.00
            Adversary          Review motion to dismiss and research holder in due
   3/3/2014 Proceeding   CNW   course claims.                                              $250.00             2       $500.00
                               Review motion and order to extend and
                               correspondence with M. Hayward regarding same.
                               (.3) (N/C) Conference with CNW regarding response
                               to motion to dismiss, holder in due course argument,
            Adversary          Rule 3002.1 argument, other arguments made in
  3/10/2014 Proceeding   KLK   motion to dismiss. (.4)                                     $500.00            0.4      $200.00
            Adversary          Begin preparing outline of motion to dismiss with
  3/14/2014 Proceeding   CNW   response, including research.                               $250.00             2       $500.00
            Adversary          Prepare response to motion to dismiss, including
  3/17/2014 Proceeding   CNW   research.                                                   $250.00            6.5     $1,625.00
            Adversary          Continue preparing response to motion to dismiss,
  3/18/2014 Proceeding   CNW   including research.                                         $250.00            13      $3,250.00
            Adversary          Continue preparing response to motion to dismiss,
  3/19/2014 Proceeding   CNW   including research.                                         $250.00        10.5        $2,625.00
                               Review motion to dismiss filed by Caliber. Review
            Adversary          and revise response to motion to dismiss. (1.5) review
  3/19/2014 Proceeding   KLK   final response. (.3)                                        $500.00            1.8      $900.00
                               Work on motion to dismiss (edit, legal research
            Adversary          regarding HDC argument, conferences with GAA and
  3/19/2014 Proceeding   TOB   CNW).                                                       $400.00            3.5     $1,400.00
                               Review Defendants' motion to dismiss and Plaintiff's
                               response. Obtain copies of caselaw cited in both and
            Adversary          begin preparing for use at upcoming hearing. (26
  4/10/2014 Proceeding   BKM   cases) (2.2)                                                $150.00            2.2      $330.00
                               Continue preparing case law for KLK's review at
            Adversary          upcoming hearing. Pulled 8 additional cases from
  4/11/2014 Proceeding   BKM   Westlaw. (2.4)                                              $150.00            2.4      $360.00
            Adversary          Prepare to argue motion to dismiss at status
  4/16/2014 Proceeding   KLK   conference.                                                 $500.00            1.5      $750.00
                               Further legal research for or response brief to the
            Adversary          second brief filed by Caliber and U.S. Bank Trust on
   5/6/2014 Proceeding   KLK   May 5, 2014, and begin draft brief in response.             $500.00             2      $1,000.00
            Adversary          [Redacted] (.3) [Redacted]. Emails with trial team
  5/13/2014 Proceeding   KLK   regarding same. (.4)                                        $500.00            0.7       $350.00
                                                                                                     Total:         $14,090.00


After reviewing the relevant time entries and the evidence in the record, the Court concludes that

the time spent by the KB Firm responding to the motion to dismiss was overall reasonable and

necessary. It is notable that Lynn’s expert report also suggests that Applicants should be
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 41 of 88




compensated for time spent responding to the motion to dismiss.179 The Court does, however, take

issue with repeat instances of block billing and vagueness in the motion to dismiss time entries.

There are several entries between March 14, 2014, and March 19, 2014, in which Applicants bill

for large swaths of time for “preparing response to motion to dismiss, including research.” The

Court considers this description to not only be vague, as it doesn’t describe what was researched,

but it is also block-billed as it does not divide the time spent on the motion to dismiss from the

associated research. Without this information, the Court is not in a good position to assess the

reasonableness of these entries. Thus, the four time entries between March 14, 2019 and March

19, 2014, spent drafting and researching the motion to dismiss, totaling $8,000, are reduced by

30% to $5,600.

         As such, the fees KB Firm seeks for responding to Defendants’ motion to dismiss are

reduced from $14,090 to $11,690.

         Defendants complain of two motions for sanctions, one which they allege was withdrawn

and the other never filed. Unless a fee applicant can demonstrate that a withdrawn document was

a “good gamble,” it is not reasonable for an attorney to bill for time spent preparing the later

withdrawn document.180 Defendants’ assertion that a motion for sanctions was never filed is

inaccurate. On April 10, 2017, Plaintiffs filed a motion for sanctions requesting (i) immediate

continuance of Plaintiffs’ expert report deadline; (ii) immediate production of remaining

documents and information ordered by this Court; (iii) continuance of discovery deadlines; and

(iv) a ruling ordering Defendant Caliber to provide a competent Rule 30(b)(6) corporate

representative for deposition at Defendant Caliber’s expense.181


179
    ECF No. 490-7 at 7.
180
    See In re Digerati Techs., Inc., 537 B.R. 317, 342 (Bankr. S.D. Tex. 2015) (denying fees billed for a motion that
was withdrawn under the “good gamble” standard of Woerner).
181
    ECF No. 196 at 3.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 42 of 88




        On April 11, 2017, this court issued an Order Abating Motion pursuant to Plaintiffs’ ex-

parte communication182 that the parties had agreed to extend the expert report and other discovery

deadlines.183 The parties’ counsel communicated via telephone on April 4, 2017, regarding the

possibility of extending all deadlines; six days prior to Plaintiffs’ filing their motion for

sanctions.184    Defendants responded to Plaintiffs’ Motion on May 1, 2017, explaining that

Plaintiffs filed their motion for sanctions before Defendants’ counsel was able to respond to

Plaintiffs regarding the extension of the deadline.185 Further, there is a time entry for Plaintiffs’

counsel on April 12, 2017, the day after the Order Abating Motion was filed, for “continue to

revise motion for sanction.”186 This revision occurred after the ex parte communication and the

abatement, and should be eliminated.

        In In re Digerati, the court denied fees to debtor’s counsel for services related to a

withdrawn Motion to Approve Selection process for Independent Director, and a withdrawn

Application to Employ SEC Counsel because the value of the services relating to the motions were

not self-evident.187 Debtor’s counsel failed to demonstrate that these services were necessary or

reasonable at the time the services were performed; therefore, debtor’s counsel was not entitled to

compensation for such services.188

        Similarly, the value of the services performed in filing the motion for sanctions in this case

it not self-evident. Defendants’ statement that its counsel spoke with Plaintiffs’ counsel regarding

the extension of discovery deadlines is corroborated by a time entry by Plaintiffs’ counsel on April



182
    ECF No. 197.
183
    ECF No. 198.
184
    ECF No. 200 at 5; ECF No. 374-1 at 62.
185
    ECF No. 200 at 5.
186
    ECF 374-1 at 62.
187
    In re Digerati Techs., Inc., 537 B.R. 317, 338 (Bankr. S.D. Tex. Aug. 21, 2015), aff'd, Herrera v. Dishon, 2016
WL 7337577 (S.D. Tex. Dec. 16, 2016), aff'd, Matter of Digerati Techs., Inc., 710 F. App'x 634 (5th Cir. 2018).
188
    Id. at 340.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 43 of 88




4, 2017, for “Telephone conference with…J. Vasek regarding discovery status and need to extend

discovery deadline.”189        Further, Defendants’ response and Plaintiffs’ counsel’s ex-parte

communication note that the parties agreed to extend the discovery deadlines by two months.190

Thus, requests (i) - (iii) in Plaintiffs’ motion for sanctions were satisfied by the parties’

agreement.191 Because the extension of discovery deadlines was being actively discussed by the

parties prior to Plaintiffs’ motion for sanctions, the Motion’s probability of success at the time the

services were rendered was not likely, the costs incurred for this action were not reasonable in

light of ongoing negotiations with Defendants’ counsel, and the incurred costs did not produce a

benefit. Therefore, Plaintiffs’ motion for sanctions regarding the discovery deadlines was not

reasonable at the time and was not a good gamble.

        With regard to Plaintiffs’ request (iv) “a ruling ordering Defendant Caliber to provide a

competent Rule 30(b)(6) corporate representative for deposition at Defendant Caliber’s expense,”

Rule 30(b)(6) requires that the persons designated on behalf of an organization must testify about

information known or reasonably available to the organization.192 A company offering a Rule

30(b)(6) witness “must make a conscientious good-faith endeavor to . . . prepare those persons in

order that they can answer fully, completely, unevasively, the questions posed . . . as to the relevant

subject matters.”193 Further, sanctions may be imposed by the Court to redress deposition disputes

when corporate representatives are involved, such as ordering another representative to be put




189
    ECF No. 200 at 5; ECF No. 374-1 at 62.
190
    ECF No. 200 at 5; ECF No. 197.
191
    ECF 197.
192
    Id.
193
    Hoffman v. L & M Arts, 2015 WL 1000864 1, 6 (N.D. Tex. Mar. 6, 2015) (citing Brazos River Auth. v. GE Ionics,
Inc., 469 F.3d 416, 433 (5th Cir. 2006))
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 44 of 88




forth.194 This course of action is appropriate when the initial witness was unable to properly

answer, or had obvious gaps in knowledge.195

         In Hoffman, neither the defendant’s corporate representative’s inability to explain why

certain documents were missing from the corporation’s document production nor his lack of

knowledge of the details regarding some aspects of the corporation’s operations and procedures

rendered him an incompetent witness.196 The court noted that although the plaintiff may have been

entitled to answers on these questions, it was not entitled to sanctions because the corporate

representative’s deposition could “hardly be said to be tantamount to a failure to appear under Rule

37.”197 Similarly, a review of the condensed transcript of Jamar Harris’s, Defendant Caliber’s

representative, deposition reveals that Mr. Harris was generally knowledgeable regarding

information pertaining to his position as default servicing officer.198 Further, Mr. Harris’s

testimony revealed that although he had gaps of knowledge pertaining to bankruptcy, legal, tax, or

insurance matters, he knew either where to begin searching for this information or which

department specialized in the information requested.199 At other times, Mr. Harris testified that he

simply needed more information to properly answer.200 Applicants contend in their post-trial brief

that “Defendants essentially admitted at the fee hearing that they put up a no-nothing witness for

the first properly noticed corporate representative deposition in 2016.”201 Applicants cite to



194
    8A Fed. Prac. & Proc. Civ. § 2103 n.16 (3d ed.) (citing to U.S. ex rel Fago v. M&T Mortg. Corp., 235 F.R.D. 11
(D.D.C 2006)
195
    Id.; Sony Elecs., Inc. v. Soundview Techs., Inc., 217 F.R.D. 104 (D. Conn. 2002)
196
    Hoffman, 2015 WL 1000864 at 6 (citing Resolution Trust Corp. v. S. Union Co., 985 F.2d 196, 196–97 (5th Cir.
1993) (affirming award of costs and fees incurred in the deposition of a witness who “possessed no knowledge relevant
to the subject matters identified in the Rule 30(b)(6) notice” such that his “appearance [was], for all practical purposes,
no appearance at all.”)
197
     Hoffman, 2015 WL 1000864 at 6 (citing Alexander v. Fed. Bureau of Investigation, 186 F.R.D. 137, 143
(D.D.C.1998)
198
    ECF No. 501-2 at 19–67.
199
    Id. at 38, 48, 51, 60
200
    Id. at 41
201
    ECF No. 537 at 14.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 45 of 88




several portions of Kellett’s testimony in support of this assertion, but the Court fails to see where

Defendants admitted to putting up an incompetent witness.202 The cited testimony is merely

Kellett’s own testimony that she believed Harris to be an incompetent witness.203 As discussed

supra, the deposition transcript speaks for itself and the Court disagrees with Applicants contention

that Defendants put up a “no-nothing witness.”204

         Therefore, although Mr. Harris was unable to explain why certain documents were missing

from the corporation’s document production, or to answer various questions due to his gaps in

knowledge, he was knowledgeable and not incompetent. Furthermore, evidence was introduced

at trial that Julian Vasek, an associate at Franklin Hayward, LLP (Caliber’s counsel), sent an email

on March 27, 2017, to Kellett stating: “[a]s we have said many times, Caliber is willing to produce

another corporate representative. But Caliber continues to believe that Mr. Harris’s testimony

fully complied with rule 30(b)(6), especially given the topics noticed. As such, Caliber will not

agree to pay for any additional corporate‐representative depositions.”205                                 Kellett also

acknowledged this email on cross-examination and that she filed her first motion for sanctions

shortly thereafter.206 Because the Court has already determined that Mr. Harris was a competent

Rule 30(b) representative, Caliber’s resistance to paying for a second Rule 30(b) deposition was

not unreasonable. Further, since Caliber offered to provide another Rule 30(b) representative on

March 27, 2017, prior to KB Firm’s first motion for sanctions on April 10, 2017, the Court

concludes that request (iv) in the motion for sanctions also was unlikely to succeed and was not a

“good gamble.” The following billing entries pertain to the first motion for sanctions:207



202
    See id.
203
    Id. (citing ECF 527 at 61, ¶ 8-13; 68, ¶ 3-13; p. 78, ¶ 10-21; ECF 528 at 9, ¶ 4 – 15, ¶ 21; 16, ¶ 4 – 17, ¶ 12.
204
    Id.
205
    ECF No. 496-45.
206
    ECF No. 527 at 178, ¶ 23 – 179, ¶ 7; 179, ¶ 24 – 180, ¶ 8.
207
    ECF No. 374-1 at 61-62.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 46 of 88



          Adversary
3/24/2017 Proceeding   KLK Begin draft of motion for sanctions. Review files of complaints regarding Caliber.      $500.00     2.8   $1,400.00
          Adversary
3/27/2017 Proceeding   KLK Review Harris deposition for motion for sanctions.                                      $500.00     0.9    $450.00
          Adversary
3/27/2017 Proceeding   KLK Further work on motion to compel and for sanctions.                                     $500.00     1.5    $750.00
          Adversary    CN Conference with KLK and TO3 regarding discovery status, possible motion for
 4/4/2017 Proceeding   W sanctions, and other to-do items.                                                         $300.00     0.8    $240.00
          Adversary        Revise motion for sanctions. (2.7) Review deposition and finalize extensive appendix.
 4/9/2017 Proceeding   KLK (8.2)                                                                                   $500.00 10.9      $5,450.00
          Adversary    CN
 4/9/2017 Proceeding   W Edit and finalize motion for sanctions.                                                   $300.00       2    $600.00
          Adversary
4/12/2017 Proceeding   KLK Continue to revise motion for sanctions.                                                $500.00     6.5 $3,250.00
                                                                                                                             Total: $12,140.00


         As such, because all of the requests in KB Firm’s first motion for sanctions were not a

“good gamble” the $12,140 sought by KB Firm for the first motion for sanctions is disallowed.

         On May 9, 2017, eight days after Defendants responded to Plaintiffs’ first motion for

sanctions, Plaintiffs filed a second motion for sanctions.208 The second motion for sanctions was

withdrawn on April 19, 2018, pursuant to a Joint Motion to Withdraw.209 Applicants’ time entries

reveal that work on this second motion regarding outstanding document production began on April

24, 2017, thirteen days after this Court issued an Order Abating the previous April 10, 2017,

motion for sanctions.210 The second motion for sanctions noted that the parties agreed to a two

month extension of the discovery deadlines on April 10, 2017, but asked the Court to formally

extend the deadlines.211 Ten days later, Plaintiffs filed an unopposed motion to suspend deadlines

asking the Court to suspend all deadlines until a hearing on the second motion for sanctions was

held.212 That request was granted.213 It’s unknown why Plaintiffs did not seek a formal extension

of the discovery deadline despite the agreement with Defendants and before filing their second




208
    ECF No. 202.
209
    ECF No. 220.
210
    ECF No. 374-1 at 62; ECF No. 198.
211
    ECF No. 202.
212
    ECF No. 206.
213
    ECF No. 207.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 47 of 88




motion for sanctions one month into the agreed extension. Given the failure to seek a formal

extension before filing the second motion for sanctions and the agreement with Defendants, there

is no evidence that the second motion for sanctions was reasonably necessary or a “good gamble”

at the time it was filed.

        Rule 37(b)(2)(A) allows sanctions if a party fails to obey an order to provide or permit

discovery.214 Further, a court may impose a severe sanction when a party’s disobedience is found

to be in bad faith, or rises to the level of callous disregard of responsibilities owed to the court and

to their opponents.215       In National Hockey League, the extreme sanction of dismissal was

appropriate where the defendants’ crucial interrogatories remained substantially unanswered by

the plaintiffs’ for 17 months despite numerous extensions “granted at the eleventh hour,” several

warnings by the Court that failure to provide certain information could result in sanctions, and

failed promises to produce by the plaintiffs.216 The Court concluded that the plaintiffs’ conduct

demonstrated a callous disregard of their responsibilities and exemplified flagrant bad faith.217

        Additionally, sanctions in the form of an award of attorneys’ fees do not require willful

behavior, and can be awarded for a negligent failure to produce correct documents.218 In Coane,

the plaintiff produced an incorrect (executed) version of a release to the defendant.219 Although

the district court concluded that the plaintiff’s error was not intentional because the executed

version of the release had less of a negative impact on his case than the unexecuted release, the

mistake was inexcusable because as an attorney, the plaintiff had to be aware of the modification

of the earlier version of his release, and cognizant of its critical relevance to the instant action.220


214
    Fed. R. Civ. P. 37(b)(2)(A)
215
    Natl. Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 640 (1976).
216
    Id.
217
    Id. at 643.
218
    Coane v. Ferrara Pan Candy Co., 898 F.2d 1030, 1031-32 (5th Cir. 1990)
219
    Id. at 1032
220
    Id.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 48 of 88




The court found the plaintiff alone should bear the costs directly resulting from his “cavalier”

attitude toward the release and affirmed the sanction award of attorneys’ fees.221

        Here, Plaintiffs’ second motion for sanctions complained of Defendants’ alleged failure to

produce responsive documents. Regarding Plaintiffs’ Request for Production No. 2 – “Documents

Identifying Employees Responsible for or Who Handled the Trevino Account,” Plaintiffs allege

that four (4) teller identification numbers and notes remained unidentified.222          However,

Defendants claim that they produced a spreadsheet of every individual they were able to

identify.223

        Regarding Plaintiffs’ Request for Production Nos. 10 and 13 – “Policy and Procedure

Documents and Training Documents from January 2009 to Present,” Plaintiffs conceded that

Defendant Caliber serviced Plaintiffs’ mortgage loan from November 18, 2013, through December

31, 2014.224 Additionally, in an email from Defendants’ counsel to Plaintiffs’ counsel, Defendant

explains that only one previous revision is responsive and that the revision from January 20, 2012

did not appear to contain any subsequent revisions to the language in the history.225 Although

Plaintiffs claim that the non-existence of prior versions of the bankruptcy manual mean that

Defendants engaged in spoliation, an email from Defendants’ counsel reveals that its search for

prior revisions of the bankruptcy manual was ongoing, and an assurance that Caliber would

supplement its production in accordance with the rules if it was able to locate any more responsive

revisions.226




221
    Id.
222
    ECF 202 at 6
223
    ECF 210 at 7
224
    Id.
225
    ECF 202-1 at 23
226
    ECF 202 at 8; ECF 202-1 at 55
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 49 of 88




        Regarding Plaintiffs’ request for Production No. 16 – “Audits from January 1, 2009 to

present,” one of the forms of relief requested was that Defendants produce unredacted versions of

such audits to the Court to review in camera.227 In their response, Defendants agreed to this form

of production.228

        Regarding Plaintiffs Request for Production No. 20 for “Codes,” Plaintiffs allege

Defendants failed to provide definitions or explanation of all the codes identified by Plaintiffs,

while Defendants claim that they produced all documents located that explain the codes and

servicing notes.229

        Unlike the “callous disregard” in efforts to produce discovery in National Hockey League,

Defendants in this case produced documents to Plaintiffs pursuant to this Court’s order. There is

a lack of production in dispute, but it does not rise to the level of complete disregard like the

seventeen months of substantially unanswered interrogatories in National Hockey League.

Additionally, in this case, there was still approximately one month remaining for production before

the extended discovery deadline that the parties agreed to. Also, with regard to attorneys’ fees,

Defendants’ actions do not rise to the level of negligent failure like the plaintiff in Coane, because

in the present case Defendants have not provided incorrect documents, and there has been

additional production of documents since the parties’ agreement to extend the discovery deadlines.

Thus, the motion for Rule 37(b) sanctions was not a “good gamble” because these sanctions were

not objectively reasonable for Defendants’ conduct at the time the second motion for sanctions

was filed. The following billing entries pertain to the second motion for sanctions:230




227
    ECF 202 at 10.
228
    ECF 210 at 8.
229
    ECF 202 at 11; ECF 210 at 9.
230
    ECF No. 374-1 at 62-63.
      Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 50 of 88



              Adversary
4/24/2017 CNW Proceeding   Conference with KLK regarding new motion for sanctions.                 $300.00     0.2      $60.00
              Adversary    Prepare motion for sanctions regarding outstanding document
4/24/2017 CNW Proceeding   production.                                                             $300.00     3.8   $1,140.00
              Adversary
4/25/2017 CNW Proceeding   Continue work on motion for sanctions.                                  $300.00     5.2   $1,560.00
              Adversary
4/26/2017 CNW Proceeding   Continue work on motion for sanctions.                                  $300.00     4.3   $1,290.00
                           Review response of Caliber to motion to dismiss (.2) Email to trial
                           team regarding Caliber allegation regarding production of 5 versions
                           of its BK manual. (.1) Email to J. Vasek regarding missing BK
              Adversary    manuals allegedly produced. (.1) Continued work on smaller motion
 5/2/2017 KLK Proceeding   for sanctions.                                                          $500.00     1.9    $950.00
                           Further work on shorter motion for sanction. (.5) Conference with
              Adversary    CNW regarding Caliber allegationthat it produced 5 sets of BK
 5/2/2017 KLK Proceeding   manuals earlier. (.2)                                                   $500.00     0.7    $350.00
                           Draft proposed new scheduling order. (.3) Conference with T03
              Adversary    regarding same. (.1) Review current draft of new motion for
 5/4/2017 KLK Proceeding   sanctions. (.1)                                                         $500.00     0.5    $250.00
              Adversary    Edit motion for sanctions to reflect additional discovery produced by
 5/4/2017 CNW Proceeding   Caliber.                                                                $300.00     2.8    $840.00
              Adversary
 5/4/2017 CNW Proceeding   Further editing of motion for sanctions and appendix.                   $300.00     0.7    $210.00
              Adversary    Continued work on new, shortened motion for sanctions. (1.5)
 5/4/2017 KLK Proceeding   Conference with CNW regarding same. (.2)                                $500.00     1.7    $850.00
              Adversary
 5/4/2017 CNW Proceeding   Additional editing to motion for sanctions and exhibits.                $300.00     0.7    $210.00
              Adversary
 5/5/2017 CNW Proceeding   Edit motion for sanctions.                                        $300.00           0.5    $150.00
              Adversary    Further draft of motion for sanctions. (1.5) Email to TO3 and CNW
 5/8/2017 KLK Proceeding   with respect to instructions regarding the same. (.1)             $500.00           1.6    $800.00
              Adversary    Review comments by TO3 to motion for sanctions and conference
 5/9/2017 KLK Proceeding   with him regarding same.                                          $500.00           0.2    $800.00
              Adversary
 5/9/2017 CNW Proceeding   Edit motion for sanctions.                                              $300.00     1.6    $480.00
              Adversary
 5/9/2017 KLK Proceeding   Further review and revision to motion for sanctions.                    $500.00     2.8   $1,400.00
              Adversary
 5/9/2017 CNW Proceeding   Continue editing motion for sanctions.                                  $300.00       1    $300.00
              Adversary    Finalize and file motion for sanctions, motion to seal, and sealed
 5/9/2017 CNW Proceeding   exhibits.                                                               $300.00      1.3    $390.00
                                                                                                             Total: $12,030.00


       As such, the $12,030 in fees billed for Plaintiffs’ second motion for sanctions are

disallowed.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 51 of 88




            Defendants also generally assert that the $22,000 spent deposing a Caliber corporate

representative was excessive without explaining why.231                                  As stated supra, “[g]eneralized

statements that time spent was unreasonable or unnecessary are not particularly helpful and not

entitled to much weight.”232 The complained of entries are as follows:233
                            Adversary    Review and edit corporate representative deposition
      3/29/2018 CNW         Proceeding   notice.                                                     $300.00        0.3      $90.00
                            Adversary    Begin reviewing documents in preparation for
      4/6/2018 CNW          Proceeding   deposition.                                                 $300.00        2.2     $660.00
                            Adversary
      4/9/2018 CNW          Proceeding   Prepare for deposition of corporate representative.         $300.00          7    $2,100.00
                            Adversary
      4/9/2018 KLK          Proceeding   Prepare for deposition of 30(b)(6) witness.                 $500.00        6.5    $3,250.00
                                         Prepare for deposition by re-reading Harris depo and
                                         all exhibits, and further study of pay history and notes.
                                         (4.5) Prepare for deposition by reading complaints
                                         against Caliber. (1.5) Review new production by
                            Adversary    Caliber received at 7:38 p.m. and compare to old
      4/10/2018 KLK         Proceeding   notes. (2.2) Further preparation for deposition (1.1)       $500.00        9.3    $4,650.00
                            Adversary    Prepare for deposition of Caliber's 30(b)(6)
      4/10/2018 CNW         Proceeding   representative.                                             $300.00         10    $3,000.00
                            Adversary
      4/11/2018 CNW         Proceeding Prepare for and attend deposition of E. Smith.                $300.00         10    $3,000.00
                                       Prepare for deposition of new 30(b)(6) deponent.
                            Adversary (2.4) Take deposition. (7.5) Prepare for remainder of
      4/11/2018 KLK         Proceeding deposition set for tomorrow. (1.6)                            $500.00       11.5    $5,750.00
                            Adversary
      4/12/2018 CNW         Proceeding Prepare for and attend deposition of E. Smith.                $300.00        3.5    $1,050.00

                                                                                                               Subtotal: $23,550.00
       *Subtract $1,100 for the 2.2 hours KLK spent reviewing new production by Caliber on 4/10/2018              Total: $22,450.00



Other than generalized statements, Defendants fail to explain either in their objection, at trial, or

in their post-trial brief why the time spent by KB Firm deposing Caliber’s second corporate

representative, Mr. Smith, was excessive.234 Nevertheless, the Court finds it concerning that nearly

every entry is either block billed or contains a vague description. Notably, there are several full



231
    ECF No. 390 at 16-17.
232
    Castorena v. Mendoza, 2011 U.S. Dist. LEXIS 166802, at *14 (S.D. Tex. Mar. 14, 2011) (quoting Norman v.
Housing Authority of City of Montgomery, 836 F.2d 1292, 1302 (11th Cir. 1988)).
233
    ECF No. 374-1 at 85-86.
234
    See ECF Nos. 390 and 538.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 52 of 88




day entries described as “[p]repare for deposition of Caliber’s 30(b) representative.”                                   This

description does not allow the Court to assess the reasonableness of the time spent preparing for

the deposition, especially in light of the 20-30 hours that Wells spent on this task. “Prepare for

and attend deposition of E. Smith” should similarly be separated out into separate time entries.

           As such, the Court reduces the fees sought preparing for and attending the deposition of

Mr. Smith by 30% from $22,450 to $15,715.

           Defendants generally assert that the approximately $14,000 spent reviewing the deposition

of a Caliber corporate representative was excessive.235 The complained of entries are as follows:236

                                      Conference call with J. Patterson regarding
                                      [redacted]. (.5) Begin review of video of Harris
                                      deposition and deposition transcript. (1.5) Further
                                      review of documents produced by Caliber and
                         Adversary    continue to work on supplement to motion to compel.
      7/30/2016 KLK      Proceeding   (2.4)                                                    $500.00         4.4   $2,200.00
                                      Review Harris deposition and exhibits and make
                         Adversary    notations with respect to the witness's testimony and
      7/31/2016 KLK      Proceeding   entries in the Caliber note and "transaction history."   $500.00         6.2   $3,100.00
                         Adversary
      8/2/2016 KLK       Proceeding Further review of Harris deposition.                       $500.00         2.5   $1,250.00
                         Adversary Review deposition to prepare for hearing on motion to
      8/2/2016 KLK       Proceeding compel.                                                    $500.00          5    $2,500.00
                         Adversary Further review of deposition of Caliber corporate
      8/4/2016 KLK       Proceeding representative.                                            $500.00         1.2     $600.00
                                    Review deposition transcript and mark for
                         Adversary presentation of testimony at hearing on motion to
      9/10/2016 KLK      Proceeding compel set for September 13, 2016.                         $500.00         8.2   $4,100.00
                                    Begin review of deposition testimony of J. Harris for
                         Adversary items that he did not know and documents he
      3/20/2017 CNW      Proceeding referenced that Caliber did not produce.                   $300.00         0.5     $150.00
                                    Further in-depth review of J. Harris deposition and
                         Adversary exhibits for information he could not testify about and
      3/21/2017 CNW      Proceeding document he said existed that were not produced.           $300.00          4    $1,200.00
                                    Review Harris deposition and add parts to markup
                                    regarding his lack of preparation for deposition. (1.5)
                                    Review other cases regarding allegations of 3002.1
                         Adversary abuse by Caliber and conference with CNW
      3/22/2017 KLK      Proceeding regarding same. (.5).                                      $500.00           2   $1,000.00
                                                                                                         Subtotal: $16,100.00
*Subtract $1,450 for KLK conference with J. Patterson and review of documents produced by Caliber        Subtotal: $14,650.00
* Subtract $250 for KLK review of other cases regarding allegations of 3002.1                               Total: $14,400.00

235
      ECF No. 390 at 18.
236
      ECF No. 374-1 at 55-60.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 53 of 88




Defendants similarly provided no argument or evidence explaining why the time spent on

reviewing the Harris deposition was excessive or unreasonable.237 Applicants contend that the

time spent reviewing the Harris deposition transcript was reasonable, stating:

        the Jamar Harris deposition was the subject of much dispute between the parties
        and was attached as an exhibit to several motions, was used as an exhibit at the
        September 13 and October 18, 2016 motion hearings, and was used as an exhibit at
        trial on the merits. Smith was being presented to testify in 2018, in addition to other
        deposition topics, about issues Harris could not, so review of the Harris deposition
        was required to prepare for the Smith deposition.238

        The Court is unpersuaded by this argument. The Court notes that Kellett spent a combined

26.1 hours reviewing and taking notes on the Harris deposition transcript. There are 232 pages of

testimony in the Harris deposition,239 indicating that Kellett spent on average nearly seven minutes

per page reviewing and taking notes. Considering that Kellett was also present for the entire

deposition, the Court finds that the time spent reviewing this transcript is unreasonable and

excessive.

        As such, the Court reduces the 26.1 hours Kellett spent reviewing and taking notes on the

Harris deposition, totaling $13,050, by 50% to $6,525. The Court awards the remaining $1,350

without reduction for a total of $7,875 for time spent reviewing the Harris deposition.




237
    See ECF No. 390 at 18.
238
    ECF No. 537 at 21.
239
    See ECF No. 496-32.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 54 of 88




           Defendants generally assert that the approximately $25,000 spent preparing to file a

summary judgment motion was excessive.240 The complained of entries are as follows:241
                                Adversary    Begin work on summary judgment, including review of
         10/4/2018   CNW        Proceeding   answer/complaint.                                   $300.00    1.1      $330.00
                                Adversary
         10/5/2018   CNW        Proceeding   Continue work on summary judgment motion.          $300.00     4.2      $1,260.00
                                Adversary    Review transcript of Mr. Trevino's deposition
         10/8/2018   CNW        Proceeding   testimony for summary judgment.                    $300.00     0.8      $240.00
                                Adversary    Work on summary judgment motion, including in dept
         10/8/2018   CNW        Proceeding   review of depositions.                             $300.00     3        $900.00
                                Adversary  Conference with CNW regarding strategy for our
         10/9/2018   KLK        Proceeding motion for summary judgment.                           $500.00   0.2      $100.00
                                Adversary  Continue reviewing deposition transcripts in
         10/9/2018   CNW        Proceeding connection with summary judgment.                      $300.00   1        $300.00
                                Adversary  Continue review of transcripts for summary judgment
         10/10/2018 CNW         Proceeding motion.                                                $300.00   2        $600.00
                                           Conference with CNW regarding for motion for
                                Adversary summary judgment and conference call with clients
         10/11/2018 KLK         Proceeding later today.                                           $500.00   0.2      $100.00
                                Adversary
         10/11/2018 CNW         Proceeding Continue reviewing file for summary judgment motion.   $300.00   2        $600.00
                                Adversary
         10/12/2018 CNW         Proceeding Continue work on summary judgment motion.              $300.00   2        $600.00
                                Adversary
         10/14/2018 CNW         Proceeding Continue work on summary judgment motion.              $300.00   4.5      $1,350.00
                                Adversary Continue work on motion for summary judgment,
         10/15/2018 CNW         Proceeding including in depth review of file.                     $300.00   6.5      $1,950.00
                                Adversary
         10/16/2018 CNW         Proceeding Continue work on summary judgment motion.              $300.00   7.5      $2,250.00
                                Adversary
         10/17/2018 CNW         Proceeding Continue work on motion for summary judgment.          $300.00   6.5      $1,950.00
                                Adversary
         10/18/2018 CNW         Proceeding Continue work on summary judgment motion.              $300.00   10       $3,000.00
                                Adversary
         10/19/2018 CNW         Proceeding Prepare client declarations for summary judgment.      $300.00   0.5      $150.00
                                           Conference with CNW regarding argument part of
                                           motion for summary judgment. (.2) Review J.
                                           Patterson declaration and conference with him
                                Adversary regarding same. (.3) Review and revise fact section
         10/19/2018 KLK         Proceeding of motion for summary judgment. (.3)                   $500.00   0.8      $400.00
                                Adversary
         10/19/2018 CNW         Proceeding Continue work on motion for summary judgment.          $300.00   7.5      $2,250.00
                                           Conference with CNW regarding section of brief on
                                           abuse of process, review previous Caliber briefs and
                                           J. Patterson expert report regarding same. (.3)
                                Adversary Conference with CNW regarding FDCPA section of
         10/20/2018 KLK         Proceeding motion for summary judgment. (.1)                    $500.00     0.4      $200.00
                                Adversary
         10/20/2018 CNW         Proceeding   Continue work on motion for summary judgment.        $300.00   10       $3,000.00
                                Adversary    Review and revise Plaintiffs' motion for summary
         10/21/2018 KLK         Proceeding   judgment.                                            $500.00   0.5      $250.00
                                Adversary
         10/21/2018 CNW         Proceeding   Continue to work on summary judgment motion.         $300.00   12.5      $3,750.00
                                                                                                            Subtotal: $25,530.00


240
      ECF No. 390 at 18.
241
      ECF No. 374 at 100-101.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 55 of 88




Defendants provided no argument or evidence explaining why the time spent on the motion for

summary judgment was excessive or unreasonable.242                          However, the Court finds it quite

concerning that there are over 70 hours of billing entries that merely described as, “continue to

work on summary judgment motion.” “Work on” is perhaps the least helpful description that could

be used to help the Court assess the reasonableness of the fees sought and is unreasonably vague.

        As such, the Court finds it appropriate to reduce the fees sought for preparing the motion

for summary judgment by 30% from $25,530 to $17,871.

        Defendants’ assert that approximately $7,000 was spent drafting a sur-reply in opposition

to Defendants’ summary judgment motion but that the sur-reply was never filed.243 However, a

sur-reply was filed on December 14, 2018 and $9,900—not $7,000—was billed for the sur-

reply:244

                       Adversary    Review and revise our reply to Defendants' response
12/7/2018   KLK        Proceeding   to our motion for summary judgment.                    $500.00         4.5    $2,250.00
                       Adversary    Begin work on Plaintiffs' sur-reply in opposition to
12/11/2018 CNW         Proceeding   Defendants' motion for summary judgment.               $300.00         1.5     $450.00
                       Adversary
12/12/2018 CNW         Proceeding Continue work on sur-reply.                              $300.00         11     $3,300.00
                                  Discussion regarding strategy with CNW regarding
                       Adversary Plaintiffs' sur-reply in opposition to Defendants'
12/12/2018 KLK         Proceeding motion for summary judgment.                             $500.00         0.2     $100.00
                       Adversary Continue work on Plaintiffs' sur-reply in opposition to
12/13/2018 CNW         Proceeding Defendants' motion for summary judgment.                 $300.00         10     $3,000.00
                                  Review sur-reply and conference with CNW
                       Adversary regarding same. (.5) Further review and revise sur-
12/14/2018 KLK         Proceeding reply (1.1)                                              $500.00         1.6      $800.00
                                                                                                     Subtotal:   $9,900.00


Given that the sur-reply was filed, the only consideration remaining is whether the fees billed were

reasonable and necessary. Defendants provided no argument or evidence explaining why the time

spent preparing the sur-reply was excessive or unreasonable. However, the Court finds that the



242
    See ECF No. 390 at 18.
243
    Id.
244
    ECF Nos. 283, 374-1 at 103.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 56 of 88




Wells time entries for December 12 & 13, 2018, are vague and unhelpful in assisting this Court to

determine their reasonableness.

        As such, each are reduced by 30% from $6,300 to $4,410. The remaining $3,600 in fees

sought is awarded unreduced for a total of $8,010.

        Accordingly, in sum, Defendants’ objection that the time spent by Plaintiffs’ counsel

litigating in this case was wholly unreasonable is sustained in part. The Court disallows a total of

$141,239.50 in unnecessary and unreasonable attorneys’ fees sought by Applicants.

                 d. Whether the Fee Application is replete with instances of top-heavy billing,
                    overstaffing, and overbilling for the tasks involved

        Defendants’ Objection states, “[a]s set forth in part [sic] in section III(B)(b) of this

Objection, the Fee Application is replete with numerous instances of partners and/or other

attorneys with high hourly rates engaging in tasks that could have been performed by associates

and/or paraprofessional charging lower hourly rates—especially with regards to KB Firm’s time

spent on this litigation.”245 Defendants also assert that the Fee Application contains numerous

instances of two or more attorneys and/or paraprofessionals billing times for matters that could

have—and should have—been handled by a single attorney.246 Defendants do not give any

indication as to which tasks they think could have been performed by associates or

paraprofessionals instead of attorneys charging higher rates nor do they tell which matters could

have been handled by a single attorney. Defendants also fail to identify specific instances of

overstaffing for this Court’s review in their post-trial brief and merely recite the generalized

language in their objection.247 Despite this, the Court has an independent duty to assess the




245
    ECF No. 390 at 18, ¶ 37.
246
    Id. at 17–18, ¶ 36.
247
    See ECF No. 538 at 19.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 57 of 88




reasonableness of fees sought248 and has identified the following problematic entries pertaining to

time spent by Bartholow and Wells at a hearing on the motion to dismiss and time spent at trial

respectively:249




         “If more than one attorney is involved, the possibility of duplication of effort along with

the proper utilization of time should be scrutinized. The time of two or three lawyers in a

courtroom or conference when one would do, may obviously be discounted.”250 “Hours in the

passive role of an observer while other attorneys perform” are usually not billable.”251 Conversely,

if evidence is presented that additional attorneys participated in a supporting role, then the time

billed may be compensable.252 After reviewing the record, the Court finds that Bartholow was a

passive observer and did not substantively contribute at the April 30, 2015, hearing concerning the



248
    See e.g., In re King, 546 B.R. 682, 701 (Bankr. S.D. Tex. 2016) (“even if no objection had been lodged, this
Court has an independent duty to examine all fee requests made by counsel.”).
249
    ECF No. 374-1 at 42-45, 123.
250
    Abrams v. Baylor College of Medicine, 805 F.2d 528, 535 (5th Cir. 1986) (citing Johnson, 488 F.3d at 717).
251
    Carroll v. Sanderson Farms, Inc., 2014 U.S. Dist. LEXIS 16890, at *35 (S.D. Tex. Feb. 11, 2014) (cleaned up)
(quoting Flowers v. Wiley, 675 F.2d 704, 705 (5th Cir. 1982)).
252
    See, e.g., Midkiff v. Prudential Ins Co. of Am., 2021 U.S. Dist. LEXIS 229562, at *12 (W.D. Tex. Sept. 30, 2021)
(finding that plaintiff presented evidence that additional attorney who attended the mediation and trial participated “in
a supporting role” rather than merely as a passive observer and declining to reduce the lodestar amount on that basis);
Walker v. United States HUD, 99 F.3d 761, 768 (5th Cir. 1996) ( “[c]ompensation is sought for more than on attorney’s
time at depositions, hearings, negotiations, or other activities only if there was a legitimate need for the involvement
of more than one attorney”).
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 58 of 88




motion to dismiss.253 Similarly, the Court also finds that Wells largely did not participate on days

one and two of the underlying trial on August 5 & 6, 2019, and that her time should similarly be

disallowed.254

         Accordingly, Defendants’ objection is sustained and the above billing entries totaling

$10,630 represent unnecessary overstaffing and are disallowed.

                  e. Whether Defendants’ offer of judgment early in the adversary proceeding
                     warrants a substantial reduction to Plaintiffs’ requested fees
         Defendants urge this Court to take into consideration their initial May 13, 2014 offer of

judgment (“Offer of Judgment”) and reduce the requested fees significantly.255 Relying on Gurule,

Defendants assert that the Offer of Judgment would have compensated Plaintiffs three times more

than the statutory damages awarded Plaintiffs under the FDCPA and thus, impact their degree of

success.256 Although Defendants attached the Offer of Judgment to their Objection, they did not

offer it nor was it admitted into evidence by the Court.257 Nevertheless, it is undisputed that the

Offer of Judgment proposed to adjust Defendants’ Claim No. 21-1 and the Rule 3002.1(c) Notice

by the total amount of $2,933.83, plus pay an additional $3,000 to Plaintiffs.258

         In Gurule, the Fifth Circuit held that “in setting a reasonable attorney’s fee under a fee-

shifting statute such as 29 U.S.C. § 216(b), a court should consider the prevailing party’s rejection

of a Rule 68 offer that was more favorable than the judgment obtained.”259 Even considering

Defendants’ Offer of Judgment as a whole it offered to compensate Plaintiffs by only $5,933.83.



253
    April 30, 2015, Min. Entry.
254
    August 5 & 6, 2019, Min. Entry.
255
    ECF No. 390 at 3, 19, ¶¶ 6, 39.
256
    Id. at 19–20, ¶¶ 39–40. Defendants’ Offer of Judgment was admitted into evidence along with all other exhibits
that were admitted at the underlying trial. See Apr. 14, 2022 Min. Entry.
257
    ECF No. 490. This Court did admit all exhibits that were previously admitted at the underlying trial, one of which
was a portion of Defendants’ Offer of Judgment. See Apr. 14, 2022 Min. Entry. The portion previously admitted at
the underlying trial did not include the actual offer amount itself. See Apr. 15, 2019 Min. Entry.
258
    ECF No. 390 at 3, ¶ 6; ECF No. 465 at 9–10.
259
    912 F.3d at 261.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 59 of 88




In contrast, this Court awarded Plaintiffs $1,000 in statutory damages and $9,000 in punitive

damages for a total award of $10,000—nearly double the compensation offered by Defendants’

Offer of Judgment.260 Defendants’ Offer of Judgment was not “more favorable than the judgment

obtained” as contemplated by Gurule.261

           Accordingly, Defendants’ objection based on its Offer of Judgment is overruled.

           To summarize, the total fees awarded to KB Firm in the Fee Application are as follows:

Fees sought by KB Firm: $641,737.00

Summary of line item reductions:




260
      ECF No. 342.
261
      912 F.3d at 261.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 60 of 88




The Court first reduces KB Firm’s requested fees from $641,737 to $489,867.50 pursuant to the

above line-item reductions. Next, the Court reduces KB Firm’s fees by 50% for failing to timely

file the required disclosures under Rule 2016(b) and comply with Local Rule 2014-1(d) as

discussed supra from $489,867.60 to $244,933.75. Last, the Court reduces overall fees by 20% to

account for the results obtained as discussed supra from $244,933.75 to $195,947.00.

        Accordingly, KB firm is awarded reasonable and necessary attorneys’ fees totaling

$195,947.00 from their Fee Application.

        3. Reasonableness of the hours billed by Stone Curtis

        Defendants did not specifically object to individual time entries of Stone Curtis.

Nevertheless, this Court has a duty to review the Fee Application for non-compensable hours.262

There are numerous problems with the reasonableness of the hours billed by Stone Curtis. First,

many of the entries are impermissibly vague. For example, several entries include descriptions

such as “emails btw counsel” or “email to KK.”263 To be compensable, time entries for emails

must “identify the participants, describe the substance of the communication, explain its outcome

and justify its necessity.”264 If the entry does not set forth both the subject of the communication

and the participants, this Court cannot determine whether the services were reasonable or

necessary.

        As another example, Stone Curtis billed for services such as “emails from KK to OC re

motion to compel, discovery issues, need for tel conf.”265 Such descriptions are so vague that this

Court cannot tell what role Stone Curtis played in those particular communications. It appears that



262
    See e.g., In re King, 546 B.R. 682, 701 (Bankr. S.D. Tex. 2016) (“even if no objection had been lodged, this
Court has an independent duty to examine all fee requests made by counsel.”).
263
    ECF No. 374-4 at 6.
264
    In re Digerati Techs., Inc., 537 B.R. 317, 333 (Bankr. S.D. Tex. 2015) (quoting In re Fibermark, Inc., 349 B.R.
385, 396 (Bankr. D. Vt. 2006)).
265
    ECF No. 374-4 at 16.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 61 of 88




Stone Curtis was billing for the mere review of an email exchange by others. Many entries also

include descriptions such as “review initial disclosures,” or “review transcripts.”266 Without

further information about what was reviewed or for what purpose, the Court cannot determine

whether such services were reasonable or necessary.

        Second, many entries are block-billed. For example, one entry states “follow up on status;

review emails regarding property taxes paid & by whom; email KK; review [redacted] by clients;

resend to KK; KK response; follow up to do notes.”267 Stone Curtis does not designate how much

time was spent on each task plus many of the descriptions are also vague.

        Third, some entries are too heavily redacted. For example, one entry states “email to client

re [redacted].”268 Although redaction of billing records is acceptable in some instances, the court

must have sufficient information to judge the reasonableness of the fees.269 In the example

mentioned, the Court does not have sufficient information because the redacted portion excludes

the necessary substance of the communication, rendering it impermissibly vague.

        Fourth, some time entries are for non-compensable clerical work. For example, Stone

Curtis billed for “instructions to JR to save to client file.”270 Stone Curtis also billed for “calendar,”

“depo dates discussions”—a scheduling matter—and “get notice/letter mailed to clients.”271 While

some clerical tasks may be compensable, some are considered unrecoverable overhead




266
    ECF No. 374-4 at 5.
267
    ECF No. 374-4 at 6.
268
    Id.
269
    Randolph v. Dimension Films, 634 F. Supp. 2d 779, 800 (S.D. Tex. 2009) (citing Vantage Trailers, Inc. v. Beall
Corp., No. 06-3008, 2008 U.S. Dist. LEXIS 68402, at *3 (S.D. Tex. Aug. 28, 2008)).
270
    ECF No. 374-4 at 8.
271
    Id. at 9.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 62 of 88




expenses.272 Some examples of clerical duties include maintaining files, copying, printing,

labeling, and emailing documents, and communicating with court staff.273

        Lastly, “[b]illing judgment should be evident from the attorneys’ invoices offered in

support of the requested fees and charges for duplicative, excessive, or inadequately documented

work should be excluded.”274 Where an attorney does not exercise billing judgment, the Court

may reduce the requested fee.275 Here, there is no evidence that Stone Curtis exercised billing

judgment. The invoices are replete with email exchanges billed mostly by Ellen Stone at a rate of

$350 an hour. For example, on August 8, 2016, Ellen Stone billed $35.00 for six minutes or less

spent on “email to KK re hearing set.”276 Stone Curtis’s invoices do not indicate that any time was

written off.

        In sum, approximately 49 of 181 time entries, or about 27%, were block-billed. The Court

also finds that more than half of Stone Curtis’ billing entries are vague. Some entries are so vague

that the Court cannot assess what work was even done or for what purpose as discussed supra.

The Court has been inclined to reduce block-billed and moderately vague billing entries between

20-30%, but in light of the numerous problems identified above in combination with the overall

lack of billing judgment the Court finds that a more substantial reduction of 50% is appropriate as

to the fees sought by Stone Curtis.277




272
    In re Owsley, 2021 Bankr. LEXIS 895, at *33 (Bankr. S.D. Tex. Apr. 5, 2021), rev’d on other grounds 2022 U.S.
Dist. LEXIS 84756 (S.D. Tex. Mar. 31, 2022) (citations omitted).
273
    Meadows v. Latshaw Drilling Co., LLC, 2020 U.S. Dist. LEXIS 9388, at *10 (N.D. Tex. Jan. 21, 2020) (citing
Carroll v. Sanderson Farms, Inc., 2014 U.S. Dist. LEXIS 16890, at *35–36 (S.D. Tex. Feb. 11, 2014)).
274
    In re Anloc, LLC, 2021 Bankr. LEXIS 3183, at *22 (citation and internal quotation marks omitted).
275
    Id. (collecting cases where fees were reduced by a percentage amount for lack of billing judgment).
276
    ECF No. 374-4 at 6.
277
    Tow v. Speer, No. CV H-11-3700, 2015 WL 12765414, at *6 (S.D. Tex. Aug. 17, 2015) (“Courts may use ‘a
simple across-the-board reduction by a certain percentage as an alternative to line-by-line reductions, particularly
when fee documentation is voluminous.’”).
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 63 of 88




         Stone Curtis’s requested fees are reduced by 50% from $34,839.50 to $17,419.75. Stone

Curtis’s fees are further reduced by another 50% consistent with this Court’s finding above that

such adjustment is warranted for failure to comply with Rule 2016(b) timely and Local Rule 2014-

1(d) to $8,709.88. Stone Curtis’s fees are reduced by another 20% for the overall success achieved

in this case to $6,967.91.

         Accordingly, Stone Curtis is entitled to $6,967.91 in reasonable and necessary attorneys’

fees.

      D. Reasonable and Necessary Expenses

         Generally, applicants may recover their full expenses absent valid objections to the

reasonableness of such expenses.278 Recoverable expenses typically include filings fees, copies,

and mailings.279

      1. KB Firm’s expenses

         KB Firm seeks to recover $63,968.42 in expenses. This amount consists of travel costs

such as airfare, food, fuel, postage, PACER charges, costs of transcripts, and Westlaw research

charges.280 Other than arguing that Applicants’ fees and expenses should be denied in toto,

Defendants did not lodge any specific challenge to Applicants’ expenses contained in their Fee

Objection. However, Defendants argue for the first time in their Post-Trial Brief that the

$15,051.41 paid by Applicants to retain Jay Patterson as an expert is not an expense that can be

shifted to Defendants under Fifth Circuit caselaw.281 Specifically, Defendants cite the Fifth



278
    See, e.g., In re Ahmadi, 2018 Bankr. LEXIS 3855, at *15 (Bankr. S.D. Tex. Dec. 10, 2018) (awarding full expenses
where no objection was made to the reasonableness thereof and no testimony as to the unreasonableness was
provided); In re Mata, 2020 Bankr. LEXIS 3102, at *29 (Bankr. S.D. Tex. Oct. 29, 2020) (awarding full expenses
where no objection was made to the reasonableness thereof); Tex. Oil Res. Operating, LLC v. ACSI Holdings, LLC
(In re Anloc, LLC), 2021 Bankr. LEXIS 3183, at *29–30 (Bankr. S.D. Tex. Nov. 18, 2021) (same).
279
    See In re Cole, 2020 Bankr. LEXIS 1921, at *46 (Bankr. S.D. Tex. July 20, 2020).
280
    ECF No. 374-1.
281
    ECF No. 538 at 19.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 64 of 88




Circuit’s decision in La. Power & Light Co. v. Kellstrom, which provides that, “[a] prevailing party

cannot recover expert fees under a fee shifting statute unless the statute expressly provides for the

recovery of expert fees.”282 Defendants are also correct in noting that neither 11 U.S.C. § 105(a)

nor 15 U.S.C. § 1692k(a)(3) expressly provide for the recovery of expert fees.283 Because

Defendants could have raised this argument in their Fee Objection and failed to do so, this Court

is disinclined to consider it.284 However, the Court is also bound to adhere to the Fifth Circuit’s

direction as it pertains to the shifting of expert witness fees and cannot award fees here in

contravention of the holding in Kellstrom.

         As such, the $15,051.41 paid by Applicants to retain Jay Patterson as an expert witness is

disallowed. Additionally, based on the testimony provided at trial by Kellett, the Court finds that

all of KB Firm’s Westlaw expenses should be disallowed:285




282
    ECF No. 538 at 20 (citing 40 F.3d 319, 333 (5th Cir. 1995) (citing W. Virginia Univ. Hosps., Inc. v. Casey, 499
U.S. 83, 86-92 (1991)).
283
    Id.
284
    Quest Med., Inc. v. Apprill, 90 F.3d 1080, 1087 (5th Cir. 1996) (“[a] district court has discretion to consider new
theories raised for the first time in a post-trial brief.”).
285
    ECF No. 374-1 at 82, 114-116, 130-134.
Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 65 of 88
Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 66 of 88
Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 67 of 88
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 68 of 88




         At trial, Kellett testified that the KB Firm, like most law firms, has a flat fee arrangement

with Thomson Reuters for the firm’s Westlaw subscription.286 Kellett further testified that KB

Firm does not consider the flat rate paid for its general Westlaw subscription to be an overhead

expense of the firm and that it is the practice of KB Firm to allocate the firm’s general Westlaw

expense to KB Firm’s clients.287 Kellett was unable to clearly articulate how KB Firm calculates

the allocation of its general Westlaw subscription to its clients.288 The Court finds this testimony

quite concerning. While it may be appropriate to independently bill clients for necessary research

that is outside of the firm’s general subscription to Westlaw, the general subscription is a clear

example of an overhead expense.289 As such, the $2,742.82 that Applicants seek for Westlaw

related expenses are disallowed. Finally, pursuant to the Court’s discussion supra, KB Firm’s

expenses are reduced by $247.99 and $1,871.56 respectively for general work performed between

December 2013 and July 7, 2014 and July 8, 2014 and March 21, 2016.

         Accordingly, KB Firm’s expenses are reduced from $63,968.42 to $44,054.64.

      2. Stone Curtis’s expenses

         Stone Curtis seeks to recover $3,153.17 in expenses. This amount consists of travel

expenses, postage, and copies.290 Defendants raised no specific challenges in their Fee Objection

to Stone Curtis’ expenses, but a review of these expenses reflects that some reduction is

warranted.291 Specifically, Stone Curtis billed $75.00 for “projected taxi expenses in Houston,”

$424.00 for “[p]rojected Hotel expenses at $212 per night x 2 rooms,” and $200 for “projected




286
    ECF No. 528 at 64, ¶ 21-23.
287
    Id. at 65.
288
    See id.
289
    See also In re Digerati Techs., Inc., 537 B.R. 317, 364 (Bankr. S.D. Tex. 2015) (“Online legal research is a cost
that is reflected in an attorney's billing rate and is therefore subsumed into attorneys' fees.”).
290
    ECF No. 374-4 at 10, 21.
291
    ECF No. 390
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 69 of 88




meal expenses in Houston.”292 Projected—as opposed to actual—expenses are not recoverable

and will be disallowed.293

         Accordingly, Stone Curtis’s requested expenses are reduced from $3,153.17 to $2,454.17.

E. Supplemental Fee Application

         Plaintiffs seek attorneys’ fees and costs for the time spent litigating the amount of

attorneys’ fees and costs for prevailing in the underlying lawsuit. KB Firm seeks a total of

$122,109.50 in attorneys’ fees and $8,260.70 in expenses from the Supplemental Fee Application

as follows:294

                                      Kellett & Bartholow, PLLC

                              Hours in                                         Adjusted
                                1/10                                         Hours in 1/10
      Timekeeper             Increments         Rate           Total          Increments             Adjusted

 Theodore O.
 Bartholow, III                      22.2     $435.00        $9,657.00                    18.7         $8,134.50
 Karen L. Kellett                   169.6     $500.00       $84,800.00                      82        $41,000.00
 Caitlyn N. Wells                   237.9     $300.00       $71,370.00                   191.2        $57,360.00
 Claude D. Smith                     54.2     $350.00       $18,970.00                    36.3        $12,705.00
 Randi Dunn
 (paralegal)                          53.0        $100        $5,300.00                   28.6          $2,860.00
 Mahlet Asanake
 (paralegal)                            3.3       $100         $330.00                      0.5           $50.00
       Subtotal Fees                                       $190,427.00                               $122,109.50

       Case Expenses                                                                                   $8,260.70
               Total                                                                                 $130,370.20


         1. Applicants’ Requested Fees




292
    ECF No. 374-4 at 21.
293
    Energy Mgmt. Corp. v. City of Shreveport, 467 F.3d 471, 482 (5th Cir. 2006) (“[t]he district court has broad
discretion to award attorney’s fees.”).
294
    ECF No. 466-1.
         Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 70 of 88




         In the Fifth Circuit, § 330(a) does not authorize compensation for counsel’s defense of a

fee application.295 In the underlying case, Plaintiffs were awarded attorneys’ fees pursuant to

§ 105(a) for prosecution of their abuse of process claim and pursuant to 15 U.S.C. § 1692k(a)(3)

for prosecution of their claims under 15 U.S.C. §§ 1692e, 1692e(2), 1692e(5), 1692f, and

1692f(1),296 not under § 330(a).            Therefore, the Fifth Circuit’s holding in ASARCO is not

applicable.297 Applicants here are entitled to reasonable fees for defense of the fee application.

However, for the reasons below, those fees will be reduced.

         As in In re Rodriguez, there were three major disputes over the fees here: (1) whether

counsel was entitled to fees at all; (2) whether counsel should bill at Dallas rates or Rio Grande

Valley rates; and (3) if counsel is entitled to fees, the reasonable amount of time for which counsel

can bill.298 As discussed supra, KB Firm was successful in the first and second disputes and will

be compensated for the fees incurred in proving that it was, in fact, entitled to fees as well as Dallas

rates.

         Defendants raised five objections to the reasonableness of the amount of time billed by

Applicants: (a) the results obtained do not support Plaintiffs’ request for fees; (b) Plaintiffs’ claims

were neither complex nor novel, (c) the time spent by Plaintiffs’ counsel in litigating the claims

was wholly unreasonable; (d) the Fee Application is replete with instances of top-heavy billing,

overstaffing, and overbilling for the tasks involved; and (e) Defendants’ offer of judgment early in

the adversary proceeding warrants a substantial reduction to Plaintiffs’ requested fees.299

Defendants prevailed on three of their objections: (a), (c), and (d). Defendants also requested that


295
    In re ASARCO, L.L.C., 751 F.3d 291, 299 (5th Cir. 2014).
296
    ECF No. 342.
297
    See Rodriguez v. Countrywide Home Loans, Inc. (In re Rodriguez), 517 B.R. 724, 736 (Bankr. S.D. Tex. 2014)
(finding that the Fifth Circuit’s holding in ASARCO was not applicable where counsel was entitled to fees under § 105
rather than § 330(a)).
298
    See id.
299
    ECF No. 390.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 71 of 88




this Court deny Applicants’ fee entirely for their failure to become properly employed and make

the necessary disclosures. While this Court denied that request, it did reduce the overall fee award

by 50% for failure to make the necessary Rule 2016(b) disclosure timely and for failure to comply

with Local Rule 201-14(d). Therefore, Defendants also realized partial success on that objection

to Applicants’ fees. Overall, Applicants requested $676,621.50 in fees and this Court disallowed

$473,706.59, or approximately 70% of the fees requested in the Fee Application.

          In In re Rodriguez, the court disallowed 73% of challenged fees and, as a result, found

that defendants were the successful party with respect to the amount of time plaintiffs’ counsel

should be allowed to bill.300 As a result, the court disallowed all fees that were incurred defending

the fee application except for those that specifically related to issues that plaintiffs’ counsel

prevailed on.301 The fees that were awarded were reduced by 20% for overall inefficiency in

proving entitlement to fees.302

        Here, given the significant reduction in Applicants’ fees in large part as a result of the

objections set forth by Defendants, Defendants were the successful party with respect to the

amount of time counsel should be allowed to bill. Unlike In re Rodriguez, Applicants’ billing

records in this case do not provide a clear picture of what amount of time was spent in the

Supplemental Fee Application on matters for which Applicants were successful. As such, in this

Court’s exercise of its broad discretion to reduce unreasonable or unnecessary fees, the Court will

opt to utilize a one for one reduction of the Supplemental Fee Application. Because Applicants

were unable to prove that 70% of their requested fees were reasonable and necessary in the Fee

Application, the Court similarly considers 70% of the time spent defending the Fee Application to



300
    In re Rodriguez, 517 B.R. 724, 736 (Bankr. S.D. Tex. 2014).
301
    See id.
302
    Id.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 72 of 88




not be reasonable nor necessary.303             As such, any award of fees in the Supplemental Fee

Application will be reduced by 70% based on the overall level of success that Applicants achieved

in defending their Fee Application. The Court shall reduce the $122,109.50 in fees sought by KB

Firm in the Supplemental Fee Application by 70% after all line-item reductions are deducted as

discussed infra.

         Next, the Court will consider Defendants’ objections to the Supplemental Fee Application.

      1. Defendants’ Objections to the Supplemental Fee Application

         Defendants raise three arguments in their Supplemental Fee Objection: (a) that this Court

lacks discretion to award fees for defending a fee application under 11 U.S.C. 105(a), (b) that this

Court lacks discretion to award fees for defending a fee application under 15 U.S.C. 1692k(a)(3),

(c) should the Court award Applicants’ fees for defending their Fee Application, that various

billing entries were not reasonable and should be disallowed, and (d) that Applicants are not

entitled to fees and expenses that pertain to appellate work in this case.304 The Court will consider

each in turn.

         a. Whether this Court has authority to award fees for fee defense litigation under 11
            U.S.C. § 105(a)

         Defendants’ first argue that the Supreme Court’s decision in Baker Botts L.L.P. v. ASARCO

LLC precludes this Court’s ability to award fees for fee defense litigation under § 105(a), as §

105(a) does not specifically authorize an award of attorneys’ fees for fee defense litigation.305 In

support, Defendants’ cite Baker Botts for the proposition that, “[i]n our legal system, no attorneys,




303
    See e.g., In re Lopez, 576 B.R. 84, 93 (Bankr. S.D. Tex. 2017) (“the court ‘need not, and indeed should not,
become green-eyeshade accountants’ because ‘the essential goal [is] ... to do rough justice, not to achieve auditing
perfection.’’) (citing Fox v. Vice, 563 U.S. 826, 838 (2011)).
304
    ECF No. 470.
305
    ECF No. 470 (citing 576 U.S. 121, 127 (2015)).
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 73 of 88




regardless of whether they practice in bankruptcy, are entitled to receive fees for fee-defense

litigation absent express statutory authorization.”306

        The Supreme Court held in Baker Botts that, “Section § 330(a)(1) does not permit

bankruptcy courts to award fees to § 327(a) professionals for defending fee applications.”307 The

Court’s analysis focused on the express language of § 330(a)(1), which allows courts to award,

“reasonable compensation for actual, necessary services rendered.”308 The Court reasoned as such:

        The word “services” ordinarily refers to “labor performed for another.” Thus, in a
        case addressing § 330(a)'s predecessor, this Court concluded that the phrase
        “‘reasonable compensation for services rendered’ necessarily implies loyal and
        disinterested service in the interest of” a client. Time spent litigating a fee
        application against the administrator of a bankruptcy estate cannot be fairly
        described as “labor performed for”—let alone “disinterested service to”—that
        administrator.309

This Court notes that the Supreme Court’s rationale in limiting fee awards under § 330(a)(1) is

highly dependent on the specific limiting language “services rendered” that appears in the

statute.310

        Section 105(a) operates as a codification of this Court’s inherent authority to sanction a

party for bad faith behavior.311 This Court does not read the holding in Baker Botts as precluding

this Court’s ability to award attorneys’ fees, including fees incurred defending a fee application,

as a sanction for bad faith conduct under § 105(a).312 This Court, as well as the Fifth Circuit, has

upheld a bankruptcy court’s authority to award attorney’s fees as a sanction under § 105(a) since




306
    Baker Botts, 576 U.S. at 133-134.
307
    Id. at 121.
308
    Id.
309
    Id. (internal citations omitted).
310
    See id.
311
    See e.g., In re Noram Res., Inc., No. 08-38222, 2015 WL 5965654, at fn. 4 (Bankr. S.D. Tex. Oct. 9, 2015).
312
    See ECF No. 341 at 15-16, 33 (finding Defendants’ actions constituted bad faith and that sanctions would be
imposed pursuant to § 105(a) for abuse of process).
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 74 of 88




the Baker Botts decision.313 Defendants’ reliance on In re Lopez and In re Standley, are similarly

misplaced as each concerned fees sought for fee defense litigation under § 330 and not as a sanction

under § 105(a).314

        Defendants also briefly attempt to argue that Lopez precludes an award of fees for fee

defense litigation under § 105(a) and cite the Court’s opinion for the proposition that, “[s]anctions

to reimburse legal fees must be compensatory rather than punitive in nature… the court must

establish a causal link between the sanctionable conduct and the opposing party’s attorney’s fees

through a ‘but-for test…’”315 While the Court agrees with this proposition, the Court also notes

that were it not for the underlying abuse of process, Applicants would not be here today defending

their Fee Application, thus satisfying the “but for” test.316 The Court does not read its opinion in

Lopez as precluding fee awards for fee defense litigation under § 105(a).

        Accordingly, Defendants’ objection that this Court lacks authority to award reasonable

attorneys’ fees for fee defense litigation under § 105(a) is overruled.

        b. Whether this Court has authority to award fees for time spent defending a fee
           application under 15 U.S.C. § 1692k(a)(3)
        Defendants similarly argue that Baker Botts precludes this Court’s ability to award fees

incurred in fee defense litigation under 15 U.S.C. § 1692k(a)(3).317 Defendants again cite the

Supreme Court for the proposition that, “[i]n our legal system, no attorneys, regardless of whether

they practice in bankruptcy, are entitled to receive fees for fee-defense litigation absent express



313
    See Matter of Carroll, 850 F.3d 811, 816 (5th Cir. 2017); In re Semco Mfg. Co., Inc., No. 22-70149, 2023 WL
187016, at *10 (Bankr. S.D. Tex. Jan. 13, 2023). See also In re Anloc, LLC, No. 12-31267, 2021 WL 5441076, at *2
(Bankr. S.D. Tex. Nov. 18, 2021) (listing cases upholding a bankruptcy court’s authority to sanction under §
105(a)); In re Rodriguez, 517 B.R. 724, 736 (Bankr. S.D. Tex. 2014).
314
    ECF No. 470 (citing 576 B.R. 84 (Bankr. S.D. Tex. 2017); No. 14-36711, 2018 WL 1457242, at *2 (Bankr. S.D.
Tex. Mar. 20, 2018)).
315
    ECF No. 470 at 11-12 (citing In re Lopez, 576 B.R. 84, 93 (Bankr. S.D. Tex. 2017)).
316
    Lopez, 576 B.R. at 93.
317
    ECF No. 470 at 14.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 75 of 88




statutory authorization.” However, Defendants’ argument collapses almost immediately when

scrutinized.

        In Baker Botts, the Court states that, “[h]ad Congress wished to shift the burdens of fee-

defense litigation under § 330(a)(1), it could have done so, as it has done in other Bankruptcy Code

provisions, e.g., § 110(i)(1)(C).”318 Section 110(i)(1)(C) provides, inter alia, for an award of,

“reasonable attorneys' fees and costs in moving for damages under this subsection.”319 Similarly,

§ 1692k(a)(3) allows this Court to award, in a successful action, “the costs of the action, together

with a reasonable attorney's fee as determined by the court.” These statutes are nearly identical,

and as such, this Court concludes per the Supreme Court’s reasoning in Baker Botts that §

1692k(a)(3) does in fact allow for an award of attorneys’ fees for fee defense litigation.

        Defendants’ also cite to Tejero v. Portfolio Recovery Associates, LLC, in support of their

argument that this Court is precluded from awarding fees for fee defense litigation.320 However,

as Defendants acknowledge, Tejero did not concern whether § 1692k(a)(3) allows for an award of

fees for fee defense litigation, but rather whether a settlement constituted a “successful action”

under the statute.321 As such, Tejero is neither binding nor relevant to the present discussion.

        Accordingly, Defendants’ objection that this Court does not have the authority to award

fees for fee defense litigation under § 1692k(a)(3) is overruled.

        c. Whether fees sought in the Supplemental Fee Application are neither reasonable
           nor necessary

        Defendants finally object that certain fees and expenses in the Supplemental Fee

Application are not reasonable or necessary.322 Specifically, Defendants assert that various time


318
    Baker Botts, 576 U.S. at 122.
319
    11 U.S.C. § 110(i)(1)(C).
320
    ECF No. 470 (citing 993 F.3d 393 (5th Cir. 2021)).
321
    See id.
322
    See generally id.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 76 of 88




entries are (i) block-billed, (ii) concern inter-office conferences that should be disallowed as

unreasonable, (iii) are excessive, and (iv) are over staffed/use a higher rate attorney than is

reasonable.323 The Court will consider each in turn.

                   i.    Block-billed time entries

           Defendants assert that the following time entries from the Supplemental Fee Application,

totaling $8,475, should be disallowed entirely for being block-billed:324




323
      Id.
324
      ECF No. 470-1.
Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 77 of 88
      Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 78 of 88




       The Court agrees that the time entries listed above are block-billed. Furthermore, many of

these time entries with redacted entries are also vague. Rather than entirely disallow these fees as

Defendants request, the Court will reduce these fees by 30%.

       Accordingly, Defendants’ objection is sustained in part and the above entries are reduced

by 30% from $8,475 to $5,932.50.

               ii.     Inter-office conferences
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 79 of 88




           Defendants argue that the following billing entries for inter-office conferences were neither

reasonable nor necessary and should be disallowed:325




325
      ECF No. 470-2.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 80 of 88




        Applicants indicated in their Response to the Supplemental Fee Objection that it was their

intention to submit unredacted billing records to the Court for in camera review so the Court was

in a better position to assess their reasonableness.326 However, the Court never received these

unredacted records. Although redaction of billing records is acceptable in some instances, the

Court must have sufficient information to judge the reasonableness of the fees.327 These billing

entries are not just vague, they lack any description of the substance of what was discussed entirely.

Without any indication of what was discussed, the Court cannot assess their reasonableness at all.

        Accordingly, Defendants’ objection that certain inter-office conference billing entries were

not reasonable or necessary is sustained and the above fees in the amount of $4,563 are disallowed

in their entirety.

                 iii.    Excessive billing



326
  ECF No. 474 at 6-7.
327
  Randolph v. Dimension Films, 634 F. Supp. 2d 779, 800 (S.D. Tex. 2009) (citing Vantage Trailers, Inc. v. Beall
Corp., No. 06-3008, 2008 U.S. Dist. LEXIS 68402, at *3 (S.D. Tex. Aug. 28, 2008)).
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 81 of 88




           Defendants assert that Applicants spent an excessive amount of time: (1) compiling

documents and providing a timeline of events to Mr. Rao for his expert report, and (2) preparing a

witness and exhibit list for the hearing on the motion for a protective order:328




328
      ECF No. 470-3.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 82 of 88




Defendants also generally assert that the $18,595 spent by Applicants on their motion for a

protective order was excessive.329 While the proponent of a fee application carries the ultimate

burden to show that the fees sought are reasonable, an objecting party must provide detailed

information explaining why the fees sought are not reasonable.330 Defendants provide little

argument as to why the above entries are excessive. The Court does not consider the twenty-one

hours spent by “RD” to be excessive, especially in light of the low billing rate of $100 per hour

done for this work. As to the 3.3 hours billed by Wells, although it seems on the high side for

preparing a fairly short witness and exhibit list, the Court does not consider this to be excessive

either.

          Defendants assert that the $18,595 spent on the motion for a protective order was excessive

because it would have been filed by Plaintiffs regardless of the concessions Defendants made in

discovery.331 The Court is unpersuaded by this speculative argument. Furthermore, the Court



329
    ECF No. 470 at 18.
330
    Wegner v. Standard Ins. Co., 129 F.3d 814, 823 (5th Cir. 1997).
331
    ECF No. 470 at 18.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 83 of 88




notes that the out of the 113 disputed discovery requests that a majority were either ultimately

withdrawn by Defendants or the Court sustained Plaintiffs’ objections to their production.332 In

light of the level of success Plaintiffs ultimately achieved on the motion for a protective order and

the amount that Applicants already voluntarily reduced from their fees in their exercise of billing

judgment, the Court declines to further reduce the $18,595 sought by Applicants based on

Defendants’ argument that these fees are excessive.

        Accordingly, Defendants’ objection that certain time entries are excessive is overruled.

                 iv.        Excessive staffing and use of high rate attorneys

        Defendants next generally object to the amount of time that Kellett and Bartholow

personally spent defending the Fee Application and argue that more of the time spent defending

the fee application should have been delegated to associates who bill at a lower rate.333 Defendants

also generally assert that Applicants exercised a lack of billing judgment in this case.334

Defendants do not point to any specific time entries that they believe should have been handled by

an associate billing at a lower rate. In response, Applicants note that KB Firm only has four

attorneys on staff, and that the work performed by Kellett and Bartholow personally was

reasonable given the amount of work that was necessary in this case.335

        First, the Court has already ruled that the rates charged by KB Firm are reasonable. The

Court also notes both that KB Firm wrote off a significant amount of time from what was requested

in the Supplemental Fee Application, thus showing good billing judgment. The Court does not

find that the staffing decisions or overall billing judgment of KB Firm was unreasonable as it

relates to the Supplemental Fee Application.


332
    See ECF No. 419.
333
    ECF No. 470 at 18-19.
334
    Id.
335
    ECF No. 474 at 7-8.
          Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 84 of 88




           Accordingly, Defendants’ objection is overruled.

           d. Fees and expenses that pertain to appellate work in this case

           Finally, Defendants briefly argue that Applicants are not entitled to fees and expenses that

pertain to appellate work in this case.336 Defendants acknowledge that no fees or expenses are

pending before the Court for appellate work in this case and that this issue is not ripe for

consideration.337 The Court agrees that this issue is not ripe for consideration and declines to rule

on this issue.

           Accordingly, because the issue of whether Applicants are entitled to fees and expenses for

appellate work in this case is not ripe for consideration, Defendants’ objection is overruled without

prejudice.

           To summarize, the total fees awarded to KB Firm in the Supplemental Fee Application are

as follows:

Fees sought by KB Firm: $122,109.50

Line-item reductions:




The Court first reduces KB Firm’s requested fees from $122,109.50 to $115,004 per the line-item

reductions discussed supra. Next, the Court reduces the fees sought by KB Firm in their

Supplemental Fee Application by 70% based on the overall level of success Applicants’ achieved

in defending their Fee Application as discussed supra from $115,004 to $34,501.20.



336
      ECF No. 470 at 20.
337
      Id.
        Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 85 of 88




         Accordingly, KB firm is awarded reasonable and necessary attorneys’ fees totaling

$34,501.20 from their Supplemental Fee Application.

      2. KB Firm’s Requested Supplemental Expenses

         KB Firm requests that the Court award $8,260.70 in additional expenses incurred

defending their fee application.338 Primarily, these expenses pertain to Westlaw charges, Pacer

Charges, and an expert report compiled by John Rao totaling $6,525.00. Defendants contend in

their Supplemental Fee Objection that the $6,525.00 paid to John Rao for his expert report cannot

be shifted as an expense to Defendants under Fifth Circuit caselaw.339 For the same reasons

discussed supra, the Court agrees and disallows the $6,525.00 paid by Applicants to retain John

Rao as an expert.

         The Court also disallows the $1,343.30 in Westlaw charges in the Supplemental Fee

Application for the same reasons stated supra:340

          Date              Description                         Amount
                                                                Requested
          06/13/2020        Westlaw                                        $7.30
          06/24/2020        Westlaw                                       $82.38
          06/25/2020        Westlaw                                      $228.59
          06/26/2020        Westlaw                                       $26.07
          06/26/2020        Westlaw                                        $3.12
          08/18/2020        Westlaw                                       $12.43
          08/31/2020        Westlaw                                        $2.92
          08/31/2020        Westlaw                                       $31.74
          09/04/2020        Westlaw                                       $16.01
          09/04/2020        Westlaw                                       $13.01
          09/08/2020        Westlaw                                        $1.50
          09/09/2020        Westlaw                                       $36.04
          09/11/2020        Westlaw                                       $14.51
          09/16/2020        Westlaw                                       $63.64
          09/19/2020        Westlaw                                       $13.56
          09/20/2020        Westlaw                                       $16.56

338
    ECF No. 466-1.
339
    ECF No. 470 at 19-20.
340
    ECF No. 466 at 31-32.
      Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 86 of 88




        09/25/2020      Westlaw                                         $12.54
        10/06/2020      Westlaw                                          $2.71
        10/07/2020      Westlaw                                         $20.90
        10/12/2020      Westlaw                                          $2.71
        10/13/2020      Westlaw                                         $93.05
        10/19/2020      Westlaw                                         $12.70
        10/21/2020      Westlaw                                         $21.71
        10/21/2020      Westlaw                                          $4.99
        10/30/2020      Westlaw                                          $4.99
        11/23/2020      Westlaw                                         $14.13
        11/24/2020      Westlaw                                         $33.03
        11/27/2020      Westlaw                                         $61.34
        11/28/2020      Westlaw                                         $17.72
        12/03/2020      Westlaw                                          $5.75
        12/04/2020      Westlaw                                         $41.14
        12/08/2020      Westlaw                                         $18.40
        12/17/2020      Westlaw                                         $52.14
        12/18/2020      Westlaw                                         $32.30
        12/21/2020      Westlaw                                          $4.03
        01/10/2021      Westlaw                                         $36.52
        07/12/2021      Westlaw                                         $20.83
        07/12/2021      Westlaw                                         $74.02
        07/13/2021      Westlaw                                          $3.90
        07/13/2021      Westlaw                                          $3.90
        09/15/2021      Westlaw research                                 $1.46
        09/17/2021      Westlaw research                                $84.74
        09/18/2021      Westlaw research                                 $1.46
        09/20/2021      Westlaw research                                $23.82
        09/21/2021      Westlaw research                                $13.11
        09/24/2021      Westlaw research                                $45.14
        09/24/2021      Westlaw research                                 $8.74
                                                              Total: $1,343.30


       Accordingly, KB Firm’s fees sought in the Supplemental Fee Application are reduced from

$8,260.70 to $392.40.

F. Fee Application Summary

       Below is a summary of the Court’s ruling regarding the various fee applications and the

total amount awarded:
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 87 of 88




G. Post-Judgment Interest

        The Court also orders Defendants to pay post-judgment interest on the total amount of

attorneys’ fees and expenses awarded to Plaintiffs. The Fifth Circuit has held that interest on

attorneys’ fees begins to accrue on the date of the judgment allowing recovery of attorneys’ fees

and runs until the date the fees are paid in full.341 Further, if the prevailing party is awarded

attorneys’ fees and those fees are a part of the judgment, then those fees will bear interest at the

same rate as that applied to the judgment on the merits.342 The Fifth Circuit allows this interest on

attorneys’ fees because it “better serve[s] the purpose of awarding these expenses to the prevailing

party since it... more nearly compensate[s] the victor for the expenses of the litigation.”343 In the

suit at bar, the rate that will be in effect is 4.70% per annum, the rate in effect when judgment was


341
    See Copper Liquor, Inc. v. Adolph Coors Co., 701 F.2d 542, 544-45 (5th Cir. 1983) (en banc), overruled in part
on other grounds by J.T. Gibbons, Inc. v. Crawford Fitting Co., 790 F.2d 1193, 1195 (5th Cir. 1986), aff’d 482 U.S.
437, 107 S.Ct. 2494, 96 L.Ed.2d 385 (1987).
342
    Id.
343
    Id. at 544.
       Case 13-07031 Document 542 Filed in TXSB on 02/09/23 Page 88 of 88




entered on February 9, 2023.344

                                         III.       CONCLUSION

        A judgment consistent with this Memorandum Opinion will be entered on the docket

simultaneously herewith.



          SIGNED February 9, 2023



                                                                ________________________________
                                                                        Eduardo V. Rodriguez
                                                                 Chief United States Bankruptcy Judge




344
   Post-Judgment Interest Rates, United States District & Bankruptcy Court Southern District of Texas,
http://www.txs.uscourts.gov/page/post-judgment-interest-rates (last visited February 9, 2023).
